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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


   LEGEND’S CREEK HOMEOWNERS                           )
   ASSOCIATION, INC.,                                  )
                                                       )
                                 Plaintiff,            )
                                                       )
                          v.                           )      Case No. 1:18-cv-02782-TWP-MPB
                                                       )
   THE TRAVELERS INDEMNITY COMPANY                     )
   OF AMERICA,                                         )
                                                       )
                                 Defendant.            )




                                 AMENDED NOTICE OF APPEAL



          Notice is hereby given that Legend’s Creek Homeowners Association, Inc., Plaintiff in

   the above-named case, hereby appeals to the United States Court of Appeals for the Seventh

   Circuit from the Entry On Defendant’s Motion for Summary Judgment and Appeal of the

   Magistrate Judge’s Decision and related Final Judgment Pursuant to Fed. R. Civ. Pro. 58, entered

   in this action on the sixth day of October, 2020.

          Notice is hereby given that Legend’s Creek Homeowners Association, Inc., Plaintiff in

   the above-named case, hereby appeals to the United States Court of Appeals for the Seventh

   Circuit from the Entry On Plaintiff's Motion To Amend Or Alter Judgment entered in this action

   on January 29, 2021.

          Notice is hereby given that Legend’s Creek Homeowners Association, Inc., Plaintiff in

   the above-named case, hereby appeals to the United States Court of Appeals for the Seventh
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   Circuit from the Amended Entry On Defendant's Motion For Summary Judgment And Appeal

   Of The Magistrate Judge's Decision, entered in this action on January 29, 2021.




                                            Respectfully submitted,


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                             FEDERAL CERTIFICATE OF SERVICE

          I hereby certify that on February 12, 2021, a copy of the foregoing was filed

   electronically. Notice of this filing will be sent to all counsel of record by operation of the

   Court’s electronic filing system. Parties may access the filing through the Court’s system.



                                                               /s/ David E. Miller
                                                               David Miller




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   LEGEND'S CREEK HOMEOWNERS                           )
   ASSOCIATION, INC.,                                  )
                                                       )
                                Plaintiff,             )
                                                       )
                           v.                          )    Case No. 1:18-cv-02782-TWP-MPB
                                                       )
   THE TRAVELERS INDEMNITY COMPANY                     )
   OF AMERICA,                                         )
                                                       )
                                Defendant.             )

            ENTRY ON DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
               AND APPEAL OF THE MAGISTRATE JUDGE'S DECISION

          This matter is before the Court on Defendant The Travelers Indemnity Company of

   America's ("Travelers") Motion for Summary Judgment pursuant to Federal Rule of Civil

   Procedure 56. (Filing No. 71.) After Travelers denied a hail and windstorm claim submitted under

   a condominium insurance policy, Plaintiff Legend's Creek Homeowners Association, Inc.

   ("Legend's Creek") brought this action alleging Travelers breached their insurance contract and

   acted in bad faith. (Filing No. 11.) Also pending is Travelers' Appeal of the Magistrate Judge

   Order ordering an appraisal. (Filing No. 83.) Because the Court grants Travelers' Motion for

   Summary Judgment, there is no need for an appraisal. Therefore, the Court denies Travelers'

   Appeal of the Magistrate Judge's Decision because that issue is moot.

                                         I.   BACKGROUND

          The following facts are not necessarily objectively true, but as required by Federal Rule of

   Civil Procedure 56, they are presented in the light most favorable to Legend's Creek as the non-

   moving party. See Zerante v. DeLuca, 555 F.3d 582, 584 (7th Cir. 2009); Anderson v. Liberty

   Lobby, Inc., 477, U.S. 242, 255 (1986).
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           Legend's Creek is an Indiana Corporation that operates a condominium association

   consisting of five residential buildings, a series of detached garages, and a clubhouse located in

   Indianapolis, Indiana (the "Property"). (Filing No. 73-2 at 13-15.) Travelers is a Connecticut

   corporation that, among other things, provides insurance to residential properties. (Filing No. 73-

   1.) Travelers issued a condominium insurance policy (the "Policy") to Legend's Creek for

   coverage for the period September 1, 2015 to September 1, 2016. (Filing No. 73-3.) The Policy

   insured Legend's Creek against the risk of direct physical loss or damage to the Property subject

   to certain terms and conditions. Id. The Policy contained the following provision:

           No one may bring a legal action against us under this Coverage Form unless:

           a. There has been full compliance with all of the terms of this Coverage Form;
              and
           b. The Action is brought within 2 years after the date on which direct physical loss
              or damage occurred.

   Id. at 44.

   The Policy also contains the following limitation of liability on a replacement cost basis:

           (c) We will not pay more for loss or damage on a replacement cost basis than the
           least of Paragraphs (i), (ii) or (iii) subject to Paragraph (d) below:

                  (i) The Limit of Insurance applicable to the lost or damaged property;
                  (ii) The cost to replace the lost or damaged property with other property:

                      a) of comparable material and quality; and
                      b) used for the same purpose; or

                  (iii) The amount actually spent that is necessary to repair or replace the lost
                  or damaged property.

   Id. at 40.

           On or about May 1, 2016, the Property was damaged by hail and wind during a storm.

   (Filing No. 73-2 at 12-13.) The storm damage encompassed the roofs, gutters, and north elevations

   of siding on four residential buildings and four detached garages. (Filing No. 73-4 at 16-18.) At


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   the time of loss there were two different types of siding installed at the Property. Id. at 24.

   Buildings 1 and 2 and Garages 1 and 2 were clad with a fiber cement siding product manufactured

   by James Hardie known as "HardiePlank – Select Cedarmill." (Filing No. 73-5 at 34.) There is

   conflicting evidence in the record as to whether the siding was pre-finished, meaning it was painted

   in the factory and then installed, or whether it was field-finished, meaning it was primed in the

   factory and painted after installation. Id. at 53; Filing No. 73-6. For purposes of this Entry, the

   Court accepts Legend's Creek's position that the HardiePlank was pre-finished. At the time of the

   replacement, James Hardie no longer manufactured this specific siding. (Filing No. 73-10 at 1.)

   Buildings 3 and 4 and Garages 3 and 4 were clad with a pre-finished hardboard siding product

   manufactured by Masonite. (Filing No. 73-5 at 19-21; 26-27.) The Masonite siding was also

   discontinued. (Filing No. 80-1 at 9.)

          On September 22, 2016, Legend's Creek retained a public adjuster, Kris Kassen ("Kassen")

   of Spartan Claims, to assist with its claim for the loss and damage caused by the May 1, 2016

   storm. (Filing No. 73-4 at 14.) That same day, Kassen notified Travelers of the loss to the

   Property. Id. Spartan Claims' contract with Legend's Creek entitled it to ten percent of the

   insurance proceeds paid by Travelers. (Filing No. 73-9 at 1.)

          On October 6, 2016, Kassen learned from a representative of James Hardie that the James

   Hardie siding installed on Buildings 1 and 2 and their corresponding garages was no longer in

   production. Id. at 19. On November 3, 2016, Travelers issued payment to Legend's Creek in the

   amount of $644,674.87, which represented the estimated cost to replace the roofs and gutters as

   well as to repair the damaged north elevations of siding, less the deductible and recoverable

   depreciation. (Filing No. 73-11; Filing No. 73-4 at 22.) This amount reflected the idea that the

   north facing siding would undergo spot repairs rather than complete replacement. (Filing No. 73-



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   4 at 36.) Upon receipt of this initial payment, Kassen emailed Steven Knopp ("Knopp"), the

   adjuster handling the claim for Travelers, to tell him that his estimate "is one of the most well

   written and respectable estimates I've ever seen come out of Travelers, or any other carrier for that

   matter." (Filing No. 73-12.)

          But Kassen soon changed his mind. January 20, 2017, Kassen informed Knopp that the

   proposed spot repairs to the damaged siding were no longer acceptable to Legend's Creek—it

   wanted complete replacement of the north-facing siding. (Filing No. 73-4 at 23-24.) On February

   24, 2017, Travelers issued a supplemental payment of $238,766.88 for increased work on roof

   replacement, which would alleviate the need to replace the siding. Id. at 26; Filing No. 73-11 at

   2. Travelers later issued another supplemental payment of $28,438.02 for increased scope of repair

   to the siding. (Filing No. 73-4 at 30-31; Filing No. 73-11 at 2.)

          On September 28, 2017, Kassen emailed Knopp to notify him of Legend's Creek's position

   that the north-facing siding needed to be replaced and spot repairs were insufficient. (Filing No.

   73-13.) Travelers prepared an estimate that included replacement of the north-facing siding and

   sent it to Kassen. (Filing No. 73-14.) The following day, Knopp replied with his own estimate,

   which also called for replacement of only the north-facing siding. (Filing No. 73-15.) After

   discussing the difference in these estimates with Travelers' siding consultant, Kassen sent Knopp

   an estimate that resolved the differences. (Filing No. 73-16.) On February 7, 2018, Knopp sent

   Kassen a final estimate of an additional payment of $44,007.01, that reflected those revisions and

   provided for replacement of all north-facing siding. (Filing No. 73-17.) In his email, Knopp

   apologized for the delay and requested that Kassen inform him if this last estimate was "good to

   settle" the matter between the two parties. Id. at 1.




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          The February 7, 2018 estimate provided for replacement of the north-facing siding on

   Buildings 1 and 2 with primed but unfinished fiber cement product and replacement of the north-

   facing siding on Buildings 3 and 4 with primed and pre-finished hardboard product, and an

   allowance of approximately $10,000.00 to paint the unfinished siding. (Filing No. 73-11 at 2;

   Filing No. 73-17 at 19-24.) On February 13, 2018, Kassen sent an e-mail to Legend's Creek's

   property manager, board of directors, and contractor stating:

          I am writing this email to act as directions to all parties regarding the future progress
          of this claim and the series of events that shall take place….

          At this point, I have finalized with Travelers the estimate that includes all previous
          items as well as the approved north elevations of siding for replacement…. I have
          gotten the carrier to agree to replacement of the north elevations, with the
          expectation that the north elevation siding at Legend's Creek will be replaced with
          a like kind/quality product; the closest match available. The four large buildings
          along with the four garages will have their north elevations of siding replaced with
          PreFinished, Primed James Hardie HardiePlan[k] – Select Cedarmill 8.25"…. This
          siding will NOT be painted thereafter as it was not painted prior to the loss. Amos
          will be installing the new siding, with me present to oversee production and gather
          evidence. I will then evaluate the argument of full replacement of all of the siding
          due to a gross mismatch IF there is a gross mismatch. We are expecting that there
          will be, however, we must have the work done prior to making that argument.

          There will be no warranty on this new unpainted siding, as the manufacturer's
          installation instructions state that product should be painted after being installed
          within 180 days…. This should not be alarming, as there is not currently a
          manufacturer's warranty on the existing siding.

          However, do not fret. State building code mandates that all manufacturer
          installation instructions should be adopted as building code. Your policy has an
          additional endorsement on it known as "Ordinance or Law" or "Code Upgrade."
          This endorsement will allow me to argue that the new siding must be painted per
          that manufacturer's installation instructions, in correspondence with state building
          code. I will not be making that argument until I have had enough time to argue full
          replacement of the siding after the north elevations have been replaced.

          Remember that this is somewhat a game of chess. Gabe and I have poised Legend's
          Creek to ultimately win this game. At this point, we must proceed with the moves
          that we have planned out several turns ahead of Travelers. If everything goes
          according to plan, Legend's Creek will ultimately have all new siding, which will
          then be painted in accordance with the manufacturer's installation instructions.


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             The instructions above are how I am advising all parties involved to proceed. If
             there are any questions or concerns, please address them with me promptly.

   (Filing No. 73-18.)

             The email demonstrates that Kassen, as well as Amos Exteriors, the company that would

   be replacing the siding, expected the new siding to be a "gross mismatch" with the existing siding,

   necessitating replacement of all siding. (Filing No. 73-4 at 51-52; Filing No. 73-8 at 50-51.) Amos

   Exteriors proceeded to replace the siding on the north elevations of the four buildings and detached

   garages with primed unfinished HardiePlank – Select Cedarmill. (Filing No. 73-8 at 49, 56.)

   However, Legend's Creek did not paint the unfinished siding within 180 days of installation as

   recommended by the manufacturer. (Filing No. 73-2 at 69-70.)

             On April 13, 2018, following the installation of the siding, Kassen emailed Knopp asserting

   that Travelers owed for replacement of all siding. (Filing No. 73-20.) In particular, the email

   stated:

             [i]t is my assertion that Travelers owes for replacement of the remaining elevations
             of siding to include the necessary trim work and painting as there is now a gross
             mismatch of the damage portion of the property whereas before the loss there was
             not. This is resulting in a diminution of property value.

   Id. at 2. This email was the first time Legend's Creek had requested replacement of any siding

   other than the north-facing siding that was damaged in the storm. Kassen's email also stated, "[a]t

   this time, I would like to also request an extension of replacement cost benefits on this claim as

   we are quickly approaching the May 1st date of loss, and there is still reconciliation outstanding."

   Id. at 3.

             On April 15, 2018, Knopp responded, "Thank you for the email and info. I will review

   fully upon my return to the office later this week." (Filing No. 73-21 at 2.) On April 24, 2018,

   Knoop wrote "[w]anted to give you an update to advise that your inquiry to the claim is still

   currently being reviewed." Id. at 1. On April 26, 2018, Kassen asked by email "[w]ill an extension
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   be granted so that we can continue to resolve this outstanding issue? I know the DoL is coming

   up here shortly…". Id. at 1.

          On May 11, 2018, Knopp emailed Kassen to inform him that Travelers was preparing a

   supplemental payment based on the February 7, 2018 estimate, which provided for replacement of

   only the north-facing siding. (Filing No. 73-22.) During a telephone call on June 6, 2018, Knopp

   informed Kassen that Travelers had denied Legend's Creek's claim for replacement of all siding.

   (Filing No. 73-24; Filing No. 73-4 at 65.) On June 21, 2018, Travelers issued the final

   supplemental payment of $44,007.01 for replacement of the north-facing siding. (Filing No. 73-

   11 at 2.) Legend's Creek filed this suit on July 23, 2018 alleging breach of contract and bad faith.

   (Filing No. 73-25.)

                                     II.     LEGAL STANDARD

          The purpose of summary judgment is to “pierce the pleadings and to assess the proof in

   order to see whether there is a genuine need for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio

   Corp., 475 U.S. 574, 587 (1986). Federal Rule of Civil Procedure 56 provides that summary

   judgment is appropriate if “the pleadings, depositions, answers to interrogatories, and admissions

   on file, together with the affidavits, if any, show that there is no genuine issue as to any material

   fact and that the moving party is entitled to judgment as a matter of law.” Hemsworth v.

   Quotesmith.com, Inc., 476 F.3d 487, 489-90 (7th Cir. 2007). A disputed fact must be “material,”

   which means that it might affect the outcome of the case under the applicable substantive law.

   Liberty Lobby, 477 U.S. at 248. Disputes over irrelevant or unnecessary facts do not preclude

   summary judgment. Id. A genuine dispute of material fact exists if “there is sufficient evidence

   favoring the nonmoving party for a jury to return a verdict for that party.” Id. at 249.




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          In ruling on a motion for summary judgment, the court reviews “the record in the light

   most favorable to the non-moving party and draw[s] all reasonable inferences in that party’s

   favor.” Zerante, 555 F.3d at 584 (citation omitted). “However, inferences that are supported by

   only speculation or conjecture will not defeat a summary judgment motion.” Dorsey v. Morgan

   Stanley, 507 F.3d 624, 627 (7th Cir. 2007) (citation and quotation marks omitted). Additionally,

   “[a] party who bears the burden of proof on a particular issue may not rest on its pleadings, but

   must affirmatively demonstrate, by specific factual allegations, that there is a genuine issue of

   material fact that requires trial.” Hemsworth, 476 F.3d at 490 (citation omitted). “The opposing

   party cannot meet this burden with conclusory statements or speculation but only with appropriate

   citations to relevant admissible evidence.” Sink v. Knox Cnty. Hosp., 900 F. Supp. 1065, 1072

   (S.D. Ind. 1995) (citations omitted).

                                           III.   DISCUSSION

          Regarding Count I: Breach of Contract, Travelers argues summary judgment is appropriate

   because Legend's Creek's claims are barred by the two-year Suit Limitation Provision in the Policy.

   Regarding Count II: Bad Faith, Travelers argues that it handled Legend's Creek's claim in good

   faith, and Legend's Creek lacks evidence to the contrary. Because it is dispositive, the Court begins

   its analysis with breach of contract claim.

   A.     Count I: Breach of Contract

          Legend's Creek argues that because Travelers did not pay for the replacement of the other

   three sides of the siding and did not pay to properly repair the north facing siding, it breached the

   Policy. The Policy states that no one may bring legal action against Travelers unless that action is

   brought within two years of the date of loss. (Filing No. 73-3 at 44.) It is undisputed that the date

   of loss in this case is May 1, 2016, and Legend's Creek did not commence this action until July 23,



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   2018—more than two years after the date of loss. Travelers argues this delay entitles it to summary

   judgment. Legend's Creek's defense to this argument is two-fold, they argue that Travelers waived

   the two-year period as a matter of law, or a factual dispute exists regarding waiver. (Filing No. 79

   at 16.)

             Legend's Creek specifically argues (1) that public policy supports waiver rather than

   forfeiture, (2) that Travelers had a duty to notify Legend's Creek of its intent to strictly enforce the

   limitation period, and (3) that Travelers implicitly waived its right to enforce the limitation

   provision by continuing to negotiate and investigate the claim beyond the two-year period.

   Alternatively, Legend's Creek contends that it substantially complied with the limitation provision,

   and this particular provision of the contract is ambiguous. Legend's Creek also maintains that

   Travelers waived its right to enforce the suit limitation provision in the Policy. Its argument breaks

   down into three parts, which the Court will discuss separately.

             1.     Public Policy

             Legend's Creek argues that finding waiver here comports with public policy in Indiana.

   Suit limitation clauses in insurance contracts are unquestionably legal in Indiana. Schafer v.

   Buckeye Union Ins. Co., 381 N.E.2d 519, 522 (Ind. Ct. App. 1978) ("It is well established in

   Indiana that, while not favored, … contractual limitations shortening the time to commence suit

   are valid, at least so long as reasonable time is afforded."). Legend's Creek notes that Indiana

   courts disfavor these provisions because (1) they contravene statutes of limitation set by the

   legislature, (2) there is a societal interest in support of commercial insurance of loss, and (3) a

   limitation period might cause a party to waste resources by bringing suit only to preserve its

   contractual right to do so, although litigation may ultimately be unnecessary. (Filing No. 79 at 16-

   17, (citing Schafer).)



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           The Court accepts these public policy considerations as relevant to the rules of waiver in

   Indiana but does not consider them to be determinative of individual disputes. In other words,

   these policy considerations may have been the rationale for development of a waiver rule that is

   especially generous to policy holders, but the Court must still evaluate whether a Defendant has

   waived its right to enforce a suit limitation provision under that rule. The Court addresses that

   question as to the specific facts of this case in Section III.A.3 of this Entry.

           2.      Duty to Notify

           Legend's Creek argues that "Travelers had a duty to speak if it was going to strictly enforce

   the two-year limitation." (Filing No. 79 at 19.) It cites the following maxim of Indiana law:

           [I]t is the duty of the insurers, pending the consideration of the proofs of loss, to
           bear themselves with all good faith towards the claimant, and if they are satisfied
           with the proof furnished, and have, or have not, the right to demand further proof
           before their liability becomes fixed, they ought to make known to the assured the
           fact and nature of these demands without unnecessary delay.

   Huff v. Travelers Indem. Co., 363 N.E.2d 985, 991-92 (Ind. 1977) (quoting Aetna Ins. Co. v.

   Shreyer, 85 Ind. 362, 366-67 (Ind. 1882)). Legend's Creek interprets this statement of law as a

   duty requiring an insurer to notify the insured that it intends to enforce the suit limitation provision,

   but the Court does not see it that way. A clearer recitation of Indiana's standard can be found in

   the paragraph preceding that quote. "[T]he inquiry is whether anything has been done in the

   relationship between the insurer and the insured which would cause the insured to reasonably

   believe the limitation period will not be insisted upon." Huff at 991. The Court views this second

   quotation as the more definitive recitation of Indiana's standard due to its prevalence in the caselaw

   that has followed Huff. See, e.g., Summers v. Auto-Owners Ins. Co., 719 N.E.2d 412, 415 (Ind.

   Ct. App. 1999) (quoting Wingenroth v. American States Ins. Co., 455 N.E.2d 968, 970 (Ind. Ct.

   App. 1983)).



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          The Court determines that Indiana law does not impose an affirmative duty on an insurer

   to notify its insured of its intent to enforce the suit limitation provision. Instead, the question is

   whether a reasonable insured would have the impression that the insurer does not intend to enforce

   the provision. The Court addresses that question in the next subsection.

          3.      Implicit Waiver by Continued Negotiation and Investigation

          Suit limitation provisions in insurance contracts may be waived either expressly or

   impliedly. Summers, 719 N.E.2d at 414. "A waiver or estoppel may result from acts of insurer

   causing insured or claimant under the policy to delay bringing suit until after the time provided for

   in the policy." Id. at 414-15 (quoting Huff) (internal quotations omitted). Contractual limitation

   periods may be waived if an insurer's conduct is sufficient to create a reasonable belief on the part

   of the insured that strict compliance with the policy provision will not be required. Id. (quoting

   Wingenroth, 455 N.E.2d at 970. Thus, the focus of the court's inquiry is whether the insurer has

   done anything that would cause the insured to reasonably believe the limitation provision will not

   be enforced.

          Legend's Creek argues there are communications between the parties that show Travelers

   did not intend to enforce the two-year limitation period for bringing suit. First, after Legend's

   Creek notified Travelers of the loss on September 22, 2016, the parties "consistently and frequently

   discussed settling" the claim. (Filing No. 79 at 22.) Second, Legend's Creek states that "[o]n April

   13, 2018, Kassen brought to Travelers' attention the gross mismatch between the siding and

   requested replacement for the other three sides and an extension past the two-years." Id. Travelers

   responded, several times informing Kassen that it was reviewing his request but not addressing his

   query about the two-year period. Third, Travelers continued to act on the claim past the May 1,

   2018 date on which the two-year window to file suit expired. On that day, Travelers agreed to



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   release additional funds related to repair and replacement of siding, then twice during May

   indicated it was still considering Legend's Creek's request to replace all siding, only to deny that

   request on June 6, 2018. On June 21, 2018, Travelers paid more to Legend's Creek for the

   replacement of the north-facing siding.

           The posture of this case entitles Legend's Creek to have all factual inferences drawn in its

   favor. But the Court does not ignore facts that are inconvenient to the non-movant nor does it

   accept the non-movant's assertions if they are not supported by evidence in the record. With that

   in mind, the Court finds it necessary to correct Legend's Creek's narrative so that it conforms with

   the record evidence.

           First, Legend's Creek contends that Kassen twice asked Travelers' representative for an

   extension of the two-year suit limitation period and was ignored on both occasions. The record

   shows that is not the case. On April 13, 2018, when Kassen first informed Knopp that he believed

   Travelers must pay for the replacement of all siding on the damaged buildings, he also "request[ed]

   an extension of replacement cost benefits on this claim as we are quickly approaching the May 1st

   date of loss". (Filing No. 73-20 at 3.) He did not mention filing suit or the suit limitation provision

   of the Policy. On April 26, 2018, Kassen asked if "an extension [will] be granted so that we can

   continue to resolve this outstanding issue?" (Filing No. 73-21 at 1.) Again, the discussion is

   regarding the claim only, and he did not mention filing suit or the suit limitation provision.

           Perhaps if this were the only evidence in the record about these requests, Legend's Creek

   would be entitled to an inference that it requested an extension of the suit limitation period and

   Travelers ignored that request. But other evidence, specifically Kassen's deposition testimony,

   indicates that his request did not refer to the suit limitation provision.

           Q Okay. And what is the – what are you asking for an extension of?



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          A I became aware later that Travelers does not have, at least to my understanding,
            a date at which – or a point at which after the loss occurs that they will cut off
            replacement cost benefits, in other words, recoverable depreciation. And so I had
            just assumed that that may – that may be a provision of the policy.

          Q Okay. So you were requesting an extension of time to claim replacement cost
            benefits because, at that point in time, you assumed that there was a deadline for
            that?

          A Correct.

          Q Okay. Were you requesting an extension of anything else in that e-mail?

          A Specifically on April 26?

          Q Yes. I'm just referring to the e-mail itself.

          A I don't believe so.

   (Filing No. 73-4 at 62-63.) Given Kassen's admission that he was not referring to the suit limitation

   provision, no reasonable juror could find that Legend's Creek made a request for an extension of

   the suit limitation period and Travelers ignored that request.

          Second, Travelers mischaracterizes the claims process as "continued negotiations …

   leading up to and after the two-year anniversary of the date of loss." (Filing No. 79 at 23.) This

   characterization ignores the specifics of the parties' discussions, which, until April 13, 2018, only

   involved repair or replacement of the north-facing siding that was damaged in the storm. Kassen

   testified in his deposition that prior to sending the email on April 13, 2018, he had never requested

   that Traveler's pay for anything more than replacement on the north elevation of siding (Filing No.

   73-4 at 61.) Travelers approved Legend's Creeks' claim as to the north-facing siding, and while the

   very last of that money was paid out after the two-year suit limitation period had expired, none of

   that money is at issue in this case. The breach Legend's Creek alleges is based on Travelers' refusal

   to pay for replacement of the siding on the other faces of its buildings. Again, this siding was not




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   damaged in the storm nor did Legend's Creek claim it needed replacement until April 13, 2018—

   102 weeks into the 104-week suit limitation period.

          Moreover, evidence in the record indicates Legend's Creek knew it expected to make a

   claim for replacement of all siding at least a month before it informed Travelers of that expectation.

   In an email to Legend's Creek's principals on February 13, 2013, Kassen wrote that he intended to

   evaluate whether Legend's Creek could make a claim for replacement of all siding based on a

   "gross mismatch" between the new north-facing siding and the rest of the siding. He said that he

   expected there would be a gross mismatch but did not report that expectation to Travelers until a

   month later. (Filing No. 73-18.) Based on that chicanery, it is disingenuous to assert that Travelers

   dragged its feet by continuing to investigate the claim beyond the suit limitation period.

          The record shows that Legend's Creek essentially made a new claim two weeks prior to the

   two-year limitation date. Prior to that point, it had only requested replacement of the north-facing

   siding that was damaged in the storm. Requesting replacement of all siding is not a "negotiation,"

   as Legend's Creek frames it, but a new claim. It does not stem from the same date of loss, as no

   parties contend any siding but that facing north was damaged in the storm on May 1, 2016. And

   it does not involve the same portion of the covered property. The parties engaged in no

   negotiations on this claim to replace all the siding. Legend's Creek made the claim and Travelers

   denied it. That is not a negotiation.

          The point of the claims process is to enforce the Policy the two parties agreed to. In other

   words, after damage or loss occurs, the two parties look to the contract to determine what each

   party is entitled to and responsible for. The Court is persuaded by Travelers argument that the

   record shows Legend's Creek's agent, Kassen, viewed the claims process as a "game" in which the

   goal was to out strategize an opponent and gain an advantage. In this game, he inverted the claims



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   process, first determining a desired result (for Legend's Creek to "ultimately have all new siding")

   and then devising a plan to achieve that result through the claims process.

           That is the version of the facts supported by the record. It does not include any action on

   the part of Travelers that would give Legend's Creek a reasonable impression that Travelers did

   not intend to enforce the suit limitation provision of the Policy. Nor is there evidence that

   Travelers' actions caused Legend's Creek to delay filing suit. Thus, Travelers has not waived its

   right to rely on Legend's Creek's noncompliance with that provision.

           Legend's Creek cites to Huff, in which the Indiana Supreme Court found that an insurer

   waived the suit limitation provision and continued to exchange letters regarding the claim through

   and beyond the limitation period. 363 N.E.2d at 992. But Huff is distinguishable because in Huff

   the parties were discussing the same claim up until and through the expiration of the suit limitation

   period. Here, Legend's Creek sprung a new claim on Travelers two weeks before expiration of the

   suit limitation period and now attempts to use that late claim to escape its bargained-for obligation

   to file suit within two years of loss if it files suit at all.

           Legend's Creek also relies on Schafer, explaining that the parties in that case were engaged

   in active negotiations when the limitation period lapsed. But Legend's Creek and Travelers were

   not actively negotiating in April and May of 2018. The insureds in Schafer, after giving notice,

   submitting proof of loss, and providing examinations under oath, offered a compromise settlement

   of their fire damage claim, provided counter-offers and then made another settlement proposal

   before the suit limitation period expired. Schafer at 520. Here, Travelers had approved and was

   in the process of paying out Legend's Creek's claim for replacement of the north-facing siding.

   Meanwhile, Legend's Creek filed a claim for replacement of all siding, which Travelers later

   denied. Legend's Creek's rhetorical tactic is to call its gamesmanship and the late filing of a new



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   claim "negotiating" and then compare its facts to cases in which the parties were actively

   negotiating. But no negotiation was underway in this case at the end of the limitation period no

   matter how many times Legend's Creek insists it was.

          For those reasons, Travelers has not waived its right to enforce the two-year suit limitation

   provision of the Policy. Because Legend's Creek did not comply with that provision, Travelers is

   entitled to judgment as a matter of law.

          4.        Substantial Compliance

          Alternatively, Legend's Creek argues Travelers' Motion for Summary Judgment should be

   denied because Legend's Creek substantially complied with the suit limitation provision. It cites

   one case in support of this argument, Cont'l Ins. Co. v. Thornburg, 219 N.E.2d 450 (Ind. Ct. App.

   1966). In that case, the Indiana Court of Appeals found that an insurer had waived the contractual

   suit limitation period because the insured relied upon a letter from the insurer asking for an in-

   person meeting. Id. at 454. The court determined under principles of equity that the suit limitation

   period was at least suspended between the day the insured received the letter and the day the

   meeting took place. That suspension meant that the insured had ultimately filed suit within the

   limitation period. The case does not discuss a substantial compliance exception to a contraction

   suit limitation provision.

          Even if Continental can be read to create an exception for substantial compliance, the Court

   would not apply it here. The principles of equity do not aid Legend's Creek in this circumstance,

   as the evidence shows it was the party attempting to game the claims adjustment process and that

   it was Legend's Creek that dragged its feet in asking for replacement of all siding. It would

   contravene equitable principles to allow an insured to circumvent a suit limitation provision by

   filing a new claim at the eleventh hour that the insurer must evaluate.



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          5.      Ambiguity

          Last, Legend's Creek argues that the suit limitation provision is ambiguous. "The Policy

   is ambiguous whether the insured must file suit within two years of date of loss where the claim is

   still under review at the two-year deadline". (Filing No. 79 at 31.) Legend's Creek argues that the

   Policy provision is self-contradictory because in certain cases it would not be possible to comply

   with both provisions. Again, the provision reads:

          No one may bring a legal action against us under this Coverage Form unless:

          a. There has been full compliance with all of the terms of this Coverage Form;
             and
          b. The action is brought within 2 years after the date on which direct physical loss
             or damage occurred.

   Filing No. 73-3 at 44. Legend's Creek argues that for cases where the investigation of the claim

   takes more than two years from the date of loss, an insured cannot both comply with all the terms

   of the coverage form and file suit within two years.

          The Court disagrees. An insured can comply with the coverage form by cooperating in the

   investigation and allowing the insurer to inspect the property and still file suit within two years if

   necessary. Indeed, if Legend's Creek had filed suit before May 1, 2018, it would have complied

   with both provisions, as no evidence showed it failed to comply with the terms of the Coverage

   Form. The provision is similar to one considered in Royer v. USAA Cas. Ins. Co., 781 F.Supp.2d

   767, 770 (N.D. Ind. 2011). The suit limitation provision in that case read:

          7. Suits Against Us. No action can be brought against us unless you have:

                  a. given us notice of the loss,

                  b. complied with all other provisions, and

                  c. started the action within one year after the date of the loss.




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   Like the provision at issue here, that provision requires the insured to both comply with other

   provisions of the policy and file suit within a certain time frame of the date of loss. The Royer

   court found that provision to be unambiguous, and this Court agrees. There is nothing inherently

   contradictory about a provision that requires the insured to comply with the policy and to file suit

   within a certain time frame.

   B.     Bad Faith

          To prove bad faith, Legend's Creek must establish, with clear and convincing evidence,

   that the insurer had knowledge that there was no legitimate basis for denying liability. Villas at

   Winding Ridge v. State Farm Fire & Cas. Co., 942 F.3d 824, 833 (7th Cir. 2019). Legend's Creek

   must also prove Travelers' “conscious wrongdoing” or “culpable mental state”. Summary

   judgment on a bad faith claim is required when the insured presents no evidence or facts that the

   insurer acted with a culpable state of mind, or where the undisputed facts demonstrate that an

   insurer “had a rational and principled basis for denying coverage”. Thompson Hardwoods, Inc. v.

   Transportation Ins. Co., 2002 WL 440222, at *5 (S.D. Ind. Mar. 15, 2002); Masonic Temple

   Association of Crawfordsville v. Indiana Farmers Mut. Ins. Co., 779 N.E.2d 21 (Ind. Ct. App.

   2002) (affirming partial summary judgment in favor of insurer on insured’s bad faith claim where

   facts demonstrated insured had a “rational, principled basis” for denying liability).

          Travelers argues that Legend's Creek "cannot come close to meeting its heavy burden of

   establishing, by clear and convincing evidence, that Travelers knew that there was no legitimate

   basis for denying liability for replacement of all of the siding at the Property." (Filing No. 82 at

   11.) Travelers contends Legend's Creek has presented no evidence that shows it acted with the

   requisite culpable state of mind.




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          Legend's Creek does not dispute that Travelers had a legitimate basis for denying liability

   for replacement of the east, west, and south elevations of undamaged siding. Instead, Legend's

   Creek argues that Travelers consistently made unfounded delays in processing the claim. (Filing

   No. 79 at 34.) The Court is unpersuaded by Legend's Creek's argument. The designated evidence

   is replete with examples of the parties good faith negotiations during the periods of time that

   Legend's Creek now contends were unfounded delays. See (Filing No. 79 at 18, 22, 24.) A good

   faith dispute about the amount of a valid claim does not supply the grounds for a bad faith claim.

   Erie Ins. Co. v. Hickman, 622 N.E.2d 515, 520 (Ind. 1993). Poor judgment, negligence, and lack

   of a diligent investigation are likewise insufficient to establish bad faith. State Farm Mut. Auto.

   Ins. Co. v. Gutierrez, 844 N.E.2d 572, 580 (Ind. Ct. App. 2006). Contrary to Legend's Creek's

   contentions, the designated evidence shows that Travelers had a rational and principled basis for

   its actions. As noted in the background section of this Entry, Kassen admitted as much in his

   deposition testimony.

          More importantly, Travelers cannot be liable for bad faith in the absence of a contractual

   breach. In Indiana, claims made against insurers for breach of the duty of good faith, while

   sounding in tort, are nonetheless subject to contractually agreed upon limitations provisions if

   brought by the insured. Troxell v. Am. States Ins. Co., 596 N.E.2d 921, 925 (Ind. Ct. App. 1992)

   (suit limitation provision barred bad faith claim). Because the Court has determined there was no

   breach of contract, Travelers is entitled to summary judgment on the bad faith claim as well.

                                        IV.    CONCLUSION

          The Court holds that Legend's Creek failed to comply with the suit limitation provision of

   the Policy. Legend's Creek was represented by a public adjuster, consulted with counsel during

   the claim process, had a copy of the policy and was aware that it had two years from the date of



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   loss to commence legal action, yet never requested an extension of time to file suit and failed to

   file suit within the time frame required in the contract. Accordingly, it has no right to relief under

   that contract. Therefore, Travelers' Motion for Summary Judgment, (Filing No. 71), is GRANTED

   as to Legend's Creek's claims for breach of contract and bad faith. As that ruling resolves this suit,

   there is no need to continue the process of appraisal. Accordingly, Travelers' Appeal of the

   Magistrate Judge's Order, (Filing No. 83), is also GRANTED. The Court will issue final judgment

   in a separate order.

          SO ORDERED.

   Date: 10/6/2020


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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   LEGEND'S CREEK HOMEOWNERS                              )
   ASSOCIATION, INC.,                                     )
                                                          )
                                 Plaintiff,               )
                                                          )
                            v.                            )   No. 1:18-cv-02782-TWP-MPB
                                                          )
   THE TRAVELERS INDEMNITY COMPANY                        )
   OF AMERICA,                                            )
                                                          )
                                 Defendant.               )

                   FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58

          The Court having this day made its Entry directing the entry of final judgment, the Court

   now enters FINAL JUDGMENT.

          For the reasons detailed in the Court’s Entry on Pending Motions, the Court now enters

   FINAL JUDGMENT in this action in favor of Defendant Travelers Indemnity Company on

   Plaintiffs' claims for breach of contract and bad faith.

          Therefore, Plaintiff Legend's Creek Homeowners Association, Inc. shall take nothing by

   its Complaint. Judgment is entered accordingly, and this cause is TERMINATED.


   Dated: 10/6/2020



   Roger A.G. Sharpe, Clerk of Court


   By: _____________________________
          Deputy Clerk
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   LEGEND'S CREEK HOMEOWNERS                           )
   ASSOCIATION, INC.,                                  )
                                                       )
                                Plaintiff,             )
                                                       )
                           v.                          )    Case No. 1:18-cv-02782-TWP-MPB
                                                       )
   THE TRAVELERS INDEMNITY COMPANY                     )
   OF AMERICA,                                         )
                                                       )
                                Defendant.             )

          ENTRY ON PLAINTIFF'S MOTION TO AMEND OR ALTER JUDGMENT

          This matter is before the Court on a Motion to Amend or Alter Judgment filed by Plaintiff

   Legend's Creek Homeowners Association, Inc. ("Legend's Creek"), pursuant to Federal Rule of

   Civil Procedure 59(e) (Filing No. 90).       In support of the Motion, Legend's Creek filed a

   Memorandum in Support of Motion to Reconsider Entry on Defendant’s Motion for Summary

   Judgment and Final Judgment [Dkts. 86 and 87] in which it contends that the Court erred in several

   respects in its summary judgment entry (see Filing No. 91). For the following reasons, the Court

   denies the Motion to Reconsider.

                                             I. BACKGROUND

          After an insurance coverage dispute, Legend's Creek sued its insurer Defendant Travelers

   Indemnity Company of America ("Travelers") for breach of contract and bad faith (see Filing No.

   35 at 3–5). Specifically, Legend's Creek contended that it was owed replacement siding for the

   entirety of several buildings it owned—despite only one side on each of the buildings suffering

   damage—so that it "would have [ ] matching siding" when the existing siding had been
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   discontinued. Id. at 3. Moreover, Legend's Creek contended that Travelers acted in bad faith when

   it "knew that the siding was discontinued and could not be matched." Id. at 4.

           In April 2020, at the behest of Legend's Creek, (see Filing No. 58), the Court ordered the

   parties "to commence the appraisal process as outlined in the Policy." (Filing No. 81 at 6.) The

   Court specifically noted, however, "that the appraisal can be used after the filing of the complaint

   as part of the discovery process" and that it "could help in the fact-finding, and hopefully settlement

   discussions, while preserving any legal arguments, coverage or otherwise, that Travelers believes

   precludes its liability." Id. at 3, 4. In other words, the Court clarified, this conclusion "regarding

   the appraisal has no outcome on" any analysis concerning "Travelers' pending summary judgment

   [arguing] that Legend's breach of contract count is barred by the Policy's two-year statute of

   limitation for a legal action." Id. at 5. The Court further noted that "[t]o conclude that Legend's

   may exercise its contractual appraisal right is not to endorse its theory of its entitlement to a larger

   recovery; nor does it preemptively endorse the appraiser's fact-finding as binding notwithstanding

   any legal defenses Travelers may assert." Id. at 6. This later-completed appraisal determined that

   Travelers owed "$257,256.47 for the additional actual cash value owed for covered damage".

   (Filing No. 90-1 at 1; see also Filing No. 90-2 at 1–6.) Travelers issued payment on October 1,

   2020, for this amount (see Filing No. 90-3). But a few days later, on October 6, 2020, the Court—

   as eluded to above as a possibility—entered summary judgment in favor of Travelers for the failure

   of Legend's Creek to file suit within the two-year limitation provision of the controlling insurance

   policy (Filing No. 86 at 19–20). That afternoon, Travelers stopped payment on its October 1, 2020

   check (see Filing No. 90-8). On November 3, 2020 Legend's Creek filed the instant Motion

   seeking reconsideration of the summary judgment ruling.




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                                      II.   LEGAL STANDARD

          Although motions to reconsider are not specifically authorized by the Federal Rules of

   Civil Procedure, courts in the Seventh Circuit apply Rule 59(e) or Rule 60(b) standards to these

   motions. Smith v. Utah Valley Univ., 2015 U.S. Dist. LEXIS 70271, at *3–4 (S.D. Ind. June 1,

   2015). A motion to alter or amend under Rule 59(e) "must be filed no later than 28 days after the

   entry of the judgment." Fed. R. Civ. P. 59(e). If timely filed, a motion styled as a motion to

   reconsider should be considered under Rule 59(e). Kiswani v. Phoenix Sec. Agency, Inc., 584 F.3d

   741, 742 (7th Cir. 2009). Because Legend's Creek filed its "Motion to Reconsider" precisely

   twenty-eight days after the Court issued its Order, the Court will analyze the Motion as a motion

   to alter or amend under Rule 59(e).

          The purpose of a motion to alter or amend judgment under Rule 59(e) is to ask the Court

   to reconsider matters "properly encompassed in a decision on the merits." Osterneck v. Ernst &

   Whinney, 489 U.S. 169, 174 (1989). "A Rule 59(e) motion will be successful only where the

   movant clearly establishes: (1) that the court committed a manifest error of law or fact, or (2) that

   newly discovered evidence precluded entry of judgment." Cincinnati Life Ins. Co. v. Beyrer, 722

   F.3d 939, 954 (7th Cir. 2013) (citation and quotation marks omitted). Relief pursuant to a Rule

   59(e) motion to alter or amend is an "extraordinary remed[y] reserved for the exceptional case."

   Foster v. DeLuca, 545 F.3d 582, 584 (7th Cir. 2008). A Rule 59(e) motion may be used "to draw

   the district court's attention to a manifest error of law or fact or to newly discovered evidence."

   United States v. Resnick, 594 F.3d 562, 568 (7th Cir. 2010). A manifest error "is not demonstrated

   by the disappointment of the losing party. It is the wholesale disregard, misapplication, or failure

   to recognize controlling precedent." Oto v. Metropolitan Life Ins. Co., 224 F.3d 601, 606 (7th Cir.

   2000) (citation and quotation marks omitted). Furthermore, "a Rule 59(e) motion is not an




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   opportunity to relitigate motions or present arguments, issues, or facts that could and should have

   been presented earlier." Brownstone Publ'g, LLC v. AT&T, Inc., 2009 U.S. Dist. LEXIS 25485, at

   *7 (S.D. Ind. Mar. 24, 2009).

                                          III. DISCUSSION

          Legend's Creek purports that reconsideration is warranted for five reasons. Each is

   discussed, in turn, below.

   A.     Appraisal Award

          First, Legend's Creek asserts that "[n]ow that the appraisal award has been finalized," the

   Court should reevaluate "certain factual determinations that equity did not support waiver of the

   two-year" limitations period (Filing No. 91 at 2 (citations omitted)). This later award "shows that

   Legend's [Creek] was not making a fraudulent claim or otherwise seeking to game the system,"

   and that "Travelers owed this money from the start." Id. Indeed, Legend's Creek urges that the

   "Court should consider the appraisal award as new evidence supporting that Legend's Creek's

   position was correct all along and rebutting the inference of gamesmanship made by Travelers."

   Id. at 4. To Legend's Creek, "[t]he appraisal award plainly reflects that there was one claim, and

   that the other three sides of the siding clearly needed to be replaced." Id. at 5. "[B]ecause the

   Court made a factual finding that Legend's [Creek's] request to replace the other three sides of the

   affected buildings was a 'new claim' made at the 11th hour," the Court should reconsider given this

   "clear-cut appraisal." Id. (citations omitted). Moreover, the award rebalances the equities the

   Court previously considered, Legend's Creek contends, when "[t]he appraisal award shows that

   Travelers plainly misadjusted this claim the entire time." Id. Simply put, "if Travelers would have

   had a competent and responsive adjuster adjusting the claim," the siding issue could have been

   resolved before the two-year limitation deadline. Id. at 5–6.




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          In response, Travelers asserts that the "Appraisal Award has nothing to do with the Court's

   Order and should not be considered new evidence." (Filing No. 102 at 3.) Traveler's contends

   "the appraisal process was time barred and should never have been demanded by Legend's Creek

   fifteen (15) months into litigation and 459 days after the suit limitation period expired" and "should

   never have been permitted to proceed." Id. The Court identified this, Travelers argues, when it

   "recognize[d] that both the complaint and the appraisal process were untimely" and ordered "the

   process to stop." Id. at 4 (emphasis in original). The appraisal, then, cannot serve as "new

   evidence." Id. Concerning Legend's Creek's assertion "that Travelers breached the contract by

   not paying what the appraisers allegedly found during their inspection of the property," the

   disparity between the initial estimate and later appraisal award is merely "evidence that the parties

   disagreed over the amount of loss." Id. Travelers argues that "appraisal does not have the same

   rigorous rules and discovery process as federal court litigation," rendering any determination "not

   evidence of the merits of either party's litigation position". Id. Additionally, the argument that the

   issue could have been resolved before the limitations period expired rings hollow when the public

   adjuster for Legend's Creek "intentionally sat on this siding issue from February 13, 2018, through

   April 13, 2018, as part of the 'chess game'". Id. at 5. And this adjuster too must have been

   "incompetent" when "Travelers was issuing payments based on" his estimates. Id. Finally,

   whether the demand for replacement of the entirety of the buildings' siding "is considered a new

   claim or part of the original claim does not change the fact that there is no evidence that Legend's

   Creek requested an extension of the suit limitation period." Id. at 6.

          In reply, Legend's Creek argues that "the appraisal award is binding on Travelers. Its own

   policy makes it binding, as does an Order of this Court sending the parties to appraisal." (Filing

   No. 103 at 1.) And the Court, Legend's Creek contends, "did not recognize the appraisal process




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   as 'untimely;' it rather ordered the appraisal process to cease." Id. at 2. Importantly, argues

   Legend's Creek, "[t]he appraisal award is a critical piece of evidence that came to light after the

   parties had already briefed this Court on summary judgment." Id. This increased amount serves

   as "critical evidence that Travelers plainly underpaid this claim." Id.

          The Court finds that the outcome of the appraisal does not alter the issue it is asked to

   reconsider—that is, whether equity supported waiver of the two-year limitation period by

   Travelers. Despite this new appraisal award, Travelers did nothing that would give Legend's Creek

   a reasonable impression that Travelers did not intend to enforce the suit limitation provision of the

   Policy. Legend's Creek argues that the appraisal award rebuts any inference of gamesmanship on

   its part (see Filing No. 91 at 4). But never has a term befitted a scenario better: the public adjuster

   for Legend's Creek literally stated that waiting for the anticipated gross mismatch upon installation

   (to then demand a full re-cladding of the buildings) was all part of the "game of chess" he was

   playing with Travelers (Filing No. 73-18). Indeed, the public adjuster believed he had "poised

   Legend's Creek to ultimately win this game," advising that Legend's Creek "must proceed with the

   moves that we have planned out several turns ahead of Travelers." Id. Considering these forthright

   statements, it is bold for Legend's Creek to now claim—even in light of any difference between

   an appraisal and earlier payments—that it was then not "seeking to game the system." (Filing No.

   91 at 2.) Any monetary disparity does not go to the issue of whether Travelers acted in a way that

   it intended to relinquish the limitation provision; instead, as Travelers argued, any difference

   simply demonstrates "that the parties disagreed over the amount of loss." (Filing No. 102 at 4.)

   There is no need to reconsider the Court's Entry based on this appraisal award amount.




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   B.      Counsel for Legend's Creek

           Second, Legend's Creek argues—contrary to a statement in the Court's summary judgment

   entry—that it "was not represented by counsel until after the two-year period had already expired."

   (Filing No. 91 at 6.) To Legend's Creek, the Court's finding that it "'consulted with counsel during

   the claim process' . . . is unsupported by the factual record and constitutes a manifest error of fact."

   Id. at 6 (quoting Filing No. 86 at 19). While it did receive legal advice "regarding painting of the

   property," Legend's Creek asserts that it "'was not represented by counsel until after the limitation

   period lapsed.'" Id. (quoting Filing No. 79 at 10). "This erroneous factual finding is worth

   reconsideration," Legend's Creek argues, "because it contributed to this Court's conclusion that

   Legend's failed to timely file suit." Id. at 7.

           In response, Travelers argues that "the record supports the assertion" that Legend's Creek

   consulted with counsel before the limitation period ran (Filing No. 102 at 6 (citing Filing No. 73-

   2 at 69–70 (noting that "counsel" advised Legend's Creek not to paint the newly installed siding))).

   Moreover, this fact does not constitute "new evidence" because it was available while the summary

   judgment was pending. Id. And most significantly, engagement with counsel is "irrelevant" when

   the briefing and ultimate entry did not "turn[ ] on whether the policyholder was represented by

   counsel prior to filing suit." Id. All told, "the legal representation issue is a red herring": the public

   adjuster for Legend's Creek had been working with it since September 22, 2016, and was "required

   by law to be familiar with insurance policies." Id. at 7 (citations omitted). "Whether counsel was

   advising Legend's Creek prior to suit or not," Travelers concludes, "the evidence is clear that

   Legend's Creek is solely responsible for its failure to timely file suit or demand appraisal." Id. at

   8.




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          In reply, Legend's Creek redoubles that "deposition testimony does not, when construed in

   the light most favorable to Legend's, indicate that Legend's [Creek] consulted with legal counsel

   during the claim process." (Filing No. 103 at 2.) The fact that present counsel for Legend's Creek

   "signed their names" to the brief opposing summary judgment arguing that Legend's Creek had

   not been in consultation with counsel at the time alone "should have been sufficient to rebut" the

   contention. Id. "[R]econsideration of this factual mistake" is necessary, Legend's Creek concludes,

   "because it contributed to the Court's conclusion that Legend's failed to timely file suit." Id. at 3.

          The Court did not discuss at length any consultation between Legend's Creek and counsel

   before the suit limitation period ran:

          Legend's Creek was represented by a public adjuster, consulted with counsel during
          the claim process, had a copy of the policy and was aware that it had two years
          from the date of loss to commence legal action, yet never requested an extension of
          time to file suit and failed to file suit within the time frame required in the contract.

   (Filing No. 86 at 19–20 (emphasis added).) This brief clause in the Entry's conclusion section is

   all the Court penned about Legend's Creek and counsel. Nowhere does the Entry place any weight

   on this detail. Cf. id. at 11–16 (discussing actions of public adjuster at length). Instead, this

   passing statement merely indicates that Legend's Creek consulted about the siding with its

   attorney—not that it received guidance on how to proceed with its claims. In short, this fact did

   not contribute to the Court's decision, let alone drive the result through manifest error. Instead, as

   Travelers notes, "[n]one of the law addressed in the Summary Judgment Order or the briefing turns

   on whether the policyholder was represented by counsel prior to filing suit." (Filing No. 102 at 6.)

          Moreover, contrary to the argument of Legend's Creek, the record supports the Court's

   statement—Legend's Creek consulted with its attorney at the time it was engaged in the claims

   process (see Filing No. 73-2 at 69–70). Although Legend's Creek asserts that "[t]he deposition

   testimony never referenced any time period as to when" counsel advised Legend's Creek to forego



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   painting the siding, (Filing No. 91 at 6), the root question inquired as to whether the "siding [was]

   painted within 180 days of being installed." (Filing No. 73-2 at 69 (emphasis added).) As the

   siding was installed around March 12, 2018, (see Filing No. 73-4 at 54–56 (confirming that an

   email sent on that date "would have been around the time, either during or right after they were

   finishing up replacing the north elevations of siding")), any consultation with an attorney about

   whether to paint the newly-installed siding would have assuredly occurred within the period when

   the parties were discussing the claim. Regardless, because any attorney consultation did not go

   toward the Court's decision—and the record supports the Court's statement—the Court finds no

   reason to, as Legend's Creek requests, "reconsider and reverse its ruling" based on the Entry's

   cursory remark.

   C.     Duty of Insurer to Inform

          Third, Legend's Creek argues that "Indiana law unequivocally requires an insurer to inform

   the insured if it will enforce a suit limitation period." (Filing No. 91 at 7.) Specifically, Legend's

   Creek takes issue with the Entry's statement that Legend's Creek "'essentially made a new claim

   two weeks prior to the two-year limitation date.'" Id. (quoting Filing No. 86 at 14). Instead,

   Legend's Creek contends, "the appraisal award makes clear that this was not a new claim" and

   instead "was encompassed within the existing claim from May 1, 2016." Id. "[I]f Travelers[]

   would have competently adjusted the claim initially," Legend's Creek argues, it "would never have

   been in this position." Id. at 9. This purportedly deliberate sluggishness allowed Travelers "'to

   lull an insured into not pressing his rights and to then deny liability on the basis of the limitation

   period.'" Id. (quoting Huff v. Travelers Indem. Co., 363 N.E.2d 985, 992 (Ind. 1977)). Legend's

   Creek points to an Indiana Court of Appeals case instructing that an insurer cannot "'maintain[ ]

   that the time specified in the limitation provision continued to run'" after "'requesting [the insured]




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   to refrain from filing suit while the company's adjuster reviewed the claim.'" Id. at 9–10 (quoting

   Continental Ins. Co. v. Thornburg, 219 N.E.2d 450, 454 (Ind. Ct. App. 1966). This surely,

   Legend's Creek maintains, "imposes a requirement on insurers to explicitly invoke the suit

   limitation provision if they intend to enforce it." Id. at 10. Legend's Creek surmises, because "this

   was not a new claim" and Travelers has been rewarded for "its failures in terms of not promptly

   responding and not correctly adjusting the claim from the beginning," the Court should reconsider

   its ruling. Id.

            In response, Travelers argues that it "is not required to inform [Legend's Creek] of the suit

   limitation provision under the circumstances." (Filing No. 102 at 8.) Noting that Legend's Creek

   "again trots out previously rejected arguments," Travelers maintains that under Indiana caselaw,

   an insurer need not "inform an insured that it will enforce the suit limitation provision. 1 Id.

   Moreover, Huff is inapplicable when there "the insured gave notice of the claim at issue within a

   few weeks of the loss" and here "the remaining portion of Legend's Creek's claim that is the subject

   of this lawsuit was not brought to Travelers' attention until . . . barely two weeks before the suit

   limitation period expired." Id. at 9. This case is not an example of "an insurer lulling its insured

   into not pressing his rights and then ambushing the insured with the passage of the limitation

   period" when "there was no negotiation with respect to the undamaged elevations of the buildings"

   and "Legend's Creek demanded replacement of these elevations for the first time two weeks before

   the expiration of the limitation period" Id. at 9–10.




   1
    See, Summers v. Auto-Owners Ins. Co., 719 N.E.2d 412, 416 (Ind. Ct. App. 1999) (“Insurance Company did not reach
   the settlement negotiation stage. Indeed, no offer of money ever occurred. Instead, Insurance Company simply
   attempted to investigate the claim pursuant to its policy. Thus, the exception does not apply, and Insurance Company
   was under no obligation to expressly put Summers on notice that litigation within one year would be necessary if he
   wished to pursue his claim further.”); Schafer v. Buckeye Union Ins. Co., 381 N.E.2d 519 (Ind. Ct. App. 1978)
   (explaining that an insurer generally has no duty to advise the insured of a suit limitation provision in an insurance
   policy).


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           In reply, Legend's Creek contends that the core issue is whether Travelers' "actions gave

   Legend's [Creek] the impression that it would not need to resort to litigation to recover its losses."

   (Filing No. 103 at 3.) When viewing the facts in its favor, Legend's Creek argues that "[t]he record

   is replete with instances of Travelers dragging its feet in paying this claim": it "drastically

   underpaid" Legend's Creek initially, waited too long to issue "payment for replacement siding,"

   and, ultimately, "ran out the clock by stalling at every available opportunity." Id. Travelers'

   purposeful lethargy, as well as it "ignor[ing]" requests for extensions of policy benefits and

   "negotiat[ing] the claim for months after the anniversary," shows that it attempted "to game the

   claim process in its favor." Id.

           The assertions presented by Legend's Creek merely refurbish much of the argument it

   already raised on summary judgment. Based on this same argument, the Court concluded that the

   designated evidence showed that Legend’s Creek knew it was going to ask Travelers to replace

   the three undamaged elevations of the buildings two months before it made the request, and for

   whatever reason, Legend’s Creek waited two months to move its chess piece. It is clear that

   Travelers did not lull Legend’s Creek into believing that the two-year suit limitation would not be

   enforced, and affirmative notice is not required in Indiana. As previously stated, "a Rule 59(e)

   motion is not an opportunity to relitigate motions or present arguments, issues, or facts that could

   and should have been presented earlier." Brownstone Publ'g, LLC, 2009 U.S. Dist. LEXIS 25485,

   at *7. Moreover, the Court has already determined that the appraisal award does not change the

   Entry's outcome, see supra Section II.A, and it will not entertain this overt invitation to "relitigate"

   this already-decided issue (see Filing No. 86 at 10–11 (determining "that Indiana law does not

   impose an affirmative duty on an insurer to notify its insured of its intent to enforce the suit

   limitation provision").




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   D.     Obligation of Travelers to Pay Appraisal Award

          Fourth, Legend's Creek argues that the Court should "clarify that the appraisal award is

   valid and that Travelers is obligated to pay it." (Filing No. 91 at 10.) In fact, even if "the Court is

   not going to reverse its decision, equity would still favor obtaining the correct result which is

   reflected in the appraisal award." Id. at 11. Because the appraisal process is separate under the

   policy from the provision concerning the suit limitation period, "the equitable result" is for the

   Court to order Travelers to pay the award. Id.

          In response, Travelers asserts that the Court, in its summary judgment entry, properly

   halted the appraisal process Travelers objected to all along." (Filing No. 102 at 10). A decision

   to reverse that decision, as supported by reasoning in persuasive caselaw, "would allow an insured

   to wait years after a suit limitation provision expired to demand appraisal." Id. (citing Johnson v.

   Mut. Serv. Cas. Ins. Co., 732 N.W.2d 340, 346 (Minn. Ct. App. 2007); Nat'l Refrigeration, Inc. v.

   The Travelers Indem. Co. of Am., 947 A.2d 906, 910 (R.I. 2008)).

          In reply, Legend's Creek argues that "this Court's previous Order [(ordering the appraisal)]

   and Travelers' own policy make the appraisal award binding." (Filing No. 103 at 4.) In fact,

   "Travelers' appraiser agreed to the ultimate appraisal award, and Travelers began issuing payments

   to Legend's [Creek] to satisfy the award." Id. Though Travelers complains "that it was compelled

   to engage in the process," the result requires payment by "the plain terms of its policy." Id. The

   policy "does not impose any time limit precluding the payment of an appraisal award," and

   Travelers may not "change the terms of its policy simply because it does not want to honor an

   appraisal award that it agreed to pay." Id.

          The Court's summary judgment entry determined that because it granted Travelers' Motion

   for Summary Judgment, "there is no need to continue the process of appraisal." (Filing No. 86 at




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   20.) As definitively voiced in the Entry ordering that appraisal, determining under the policy that

   "Legend's [Creek] may exercise its contractual appraisal right is not to endorse . . . the appraiser's

   fact-finding as binding notwithstanding any legal defenses Travelers may assert." (Filing No. 81

   at 6; id. at 5 ("Travelers' Policy provides the insurer the right to retain its right to deny the claim.

   In other words, the policy expressly contemplates that the insurer may deny coverage and assert

   defenses—including that the Policy's coverage does not extend to matching replacement siding

   with existing siding—after an appraisal has taken place to determine the amount of loss.")

   (quotation omitted).) The Court does not now deviate from this conclusive statement and will not

   "affirm the validity of the appraisal award" and order that Travelers pay it (see Filing No. 91 at

   12).

   E.      Clerical Error

           Fifth, Legend's Creek notes that while the Court "stated on the first page of its

   Memorandum that it 'denies Travelers' Appeal of the Magistrate’s decision because that issue is

   moot' . . . , in the final judgment recorded on the docket, the Clerk recorded that the Court granted

   Travelers’ appeal." (Filing No. 91 at 11) (quoting Filing No. 86 at 1) (emphasis added). Legend's

   Creek succinctly concludes that "[t]his was clearly a clerical mistake, and the Court should correct

   the record." Id.

           In response, Travelers points out that "Legend’s Creek does not recommend a specific

   correction." (Filing No. 102 at 11.) For its part, however, "Travelers respectfully suggests that

   the sentence on page 1 of the Order noting that Travelers’ Appeal of the Magistrate Judge’s Order

   is moot should be changed to 'granted' as it is on page 20 of the Summary Judgment Order." Id.

   Because summary judgment resolved the suit "in its entirety," Travelers concludes, its objection

   to the Entry ordering the appraisal should be granted. Id.




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            To be sure, the first page of the Court's summary judgment entry reads that "the Court

   denies Travelers' Appeal of the Magistrate Judge's Decision because that issue is moot," while

   page twenty and the docket entry state that "Travelers' Appeal of the Magistrate Judge's Order,

   (Filing No. 83), is also GRANTED." (Filing No. 86.) The first page of the summary judgment

   entry contains a scrivener's error and, consistent with the rationale expressed throughout the entry,

   should instead read that "the Court grants Traveler's Appeal of the Magistrate Judge's Decision".

   That correction will be made, 2 but because the docket entry (and the entry's conclusion section)

   accurately reflects the disposition of that motion, the Court need not reconsider its entry on this

   minor typographical error.

                                                 IV.    CONCLUSION

            For the preceding reasons, the Court DENIES the Motion to Amend or Alter Judgment

   filed by Legend's Creek (Filing No. 90).

            SO ORDERED.

   Date: 1/29/2021




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   2
     In a separate Entry, the Court will docket an amended entry as of today's date to correct the scrivener's error so that
   the sentence on page one of the Summary Judgment Order is corrected to state "Travelers’ Appeal of the Magistrate
   Judge’s Order is granted.”


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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   LEGEND'S CREEK HOMEOWNERS                           )
   ASSOCIATION, INC.,                                  )
                                                       )
                                Plaintiff,             )
                                                       )
                           v.                          )    Case No. 1:18-cv-02782-TWP-MPB
                                                       )
   THE TRAVELERS INDEMNITY COMPANY                     )
   OF AMERICA,                                         )
                                                       )
                                Defendant.             )

         AMENDED ENTRY ON DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
             AND APPEAL OF THE MAGISTRATE JUDGE'S DECISION

          This matter is before the Court on Defendant The Travelers Indemnity Company of

   America's ("Travelers") Motion for Summary Judgment pursuant to Federal Rule of Civil

   Procedure 56. (Filing No. 71.) After Travelers denied a hail and windstorm claim submitted under

   a condominium insurance policy, Plaintiff Legend's Creek Homeowners Association, Inc.

   ("Legend's Creek") brought this action alleging Travelers breached their insurance contract and

   acted in bad faith. (Filing No. 11.) Also pending is Travelers' Appeal of the Magistrate Judge

   Order ordering an appraisal. (Filing No. 83.) Because the Court grants Travelers' Motion for

   Summary Judgment, there is no need for an appraisal. Therefore, the Court grants Travelers'

   Appeal of the Magistrate Judge's Decision.

                                         I.     BACKGROUND

          The following facts are not necessarily objectively true, but as required by Federal Rule of

   Civil Procedure 56, they are presented in the light most favorable to Legend's Creek as the non-

   moving party. See Zerante v. DeLuca, 555 F.3d 582, 584 (7th Cir. 2009); Anderson v. Liberty

   Lobby, Inc., 477, U.S. 242, 255 (1986).
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           Legend's Creek is an Indiana Corporation that operates a condominium association

   consisting of five residential buildings, a series of detached garages, and a clubhouse located in

   Indianapolis, Indiana (the "Property"). (Filing No. 73-2 at 13-15.) Travelers is a Connecticut

   corporation that, among other things, provides insurance to residential properties. (Filing No. 73-

   1.) Travelers issued a condominium insurance policy (the "Policy") to Legend's Creek for

   coverage for the period September 1, 2015 to September 1, 2016. (Filing No. 73-3.) The Policy

   insured Legend's Creek against the risk of direct physical loss or damage to the Property subject

   to certain terms and conditions. Id. The Policy contained the following provision:

           No one may bring a legal action against us under this Coverage Form unless:

           a. There has been full compliance with all of the terms of this Coverage Form;
              and
           b. The Action is brought within 2 years after the date on which direct physical loss
              or damage occurred.

   Id. at 44.

   The Policy also contains the following limitation of liability on a replacement cost basis:

           (c) We will not pay more for loss or damage on a replacement cost basis than the
           least of Paragraphs (i), (ii) or (iii) subject to Paragraph (d) below:

                  (i) The Limit of Insurance applicable to the lost or damaged property;
                  (ii) The cost to replace the lost or damaged property with other property:

                      a) of comparable material and quality; and
                      b) used for the same purpose; or

                  (iii) The amount actually spent that is necessary to repair or replace the lost
                  or damaged property.

   Id. at 40.

           On or about May 1, 2016, the Property was damaged by hail and wind during a storm.

   (Filing No. 73-2 at 12-13.) The storm damage encompassed the roofs, gutters, and north elevations

   of siding on four residential buildings and four detached garages. (Filing No. 73-4 at 16-18.) At


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   the time of loss there were two different types of siding installed at the Property. Id. at 24.

   Buildings 1 and 2 and Garages 1 and 2 were clad with a fiber cement siding product manufactured

   by James Hardie known as "HardiePlank – Select Cedarmill." (Filing No. 73-5 at 34.) There is

   conflicting evidence in the record as to whether the siding was pre-finished, meaning it was painted

   in the factory and then installed, or whether it was field-finished, meaning it was primed in the

   factory and painted after installation. Id. at 53; Filing No. 73-6. For purposes of this Entry, the

   Court accepts Legend's Creek's position that the HardiePlank was pre-finished. At the time of the

   replacement, James Hardie no longer manufactured this specific siding. (Filing No. 73-10 at 1.)

   Buildings 3 and 4 and Garages 3 and 4 were clad with a pre-finished hardboard siding product

   manufactured by Masonite. (Filing No. 73-5 at 19-21; 26-27.) The Masonite siding was also

   discontinued. (Filing No. 80-1 at 9.)

          On September 22, 2016, Legend's Creek retained a public adjuster, Kris Kassen ("Kassen")

   of Spartan Claims, to assist with its claim for the loss and damage caused by the May 1, 2016

   storm. (Filing No. 73-4 at 14.) That same day, Kassen notified Travelers of the loss to the

   Property. Id. Spartan Claims' contract with Legend's Creek entitled it to ten percent of the

   insurance proceeds paid by Travelers. (Filing No. 73-9 at 1.)

          On October 6, 2016, Kassen learned from a representative of James Hardie that the James

   Hardie siding installed on Buildings 1 and 2 and their corresponding garages was no longer in

   production. Id. at 19. On November 3, 2016, Travelers issued payment to Legend's Creek in the

   amount of $644,674.87, which represented the estimated cost to replace the roofs and gutters as

   well as to repair the damaged north elevations of siding, less the deductible and recoverable

   depreciation. (Filing No. 73-11; Filing No. 73-4 at 22.) This amount reflected the idea that the

   north facing siding would undergo spot repairs rather than complete replacement. (Filing No. 73-



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   4 at 36.) Upon receipt of this initial payment, Kassen emailed Steven Knopp ("Knopp"), the

   adjuster handling the claim for Travelers, to tell him that his estimate "is one of the most well

   written and respectable estimates I've ever seen come out of Travelers, or any other carrier for that

   matter." (Filing No. 73-12.)

          But Kassen soon changed his mind. January 20, 2017, Kassen informed Knopp that the

   proposed spot repairs to the damaged siding were no longer acceptable to Legend's Creek—it

   wanted complete replacement of the north-facing siding. (Filing No. 73-4 at 23-24.) On February

   24, 2017, Travelers issued a supplemental payment of $238,766.88 for increased work on roof

   replacement, which would alleviate the need to replace the siding. Id. at 26; Filing No. 73-11 at

   2. Travelers later issued another supplemental payment of $28,438.02 for increased scope of repair

   to the siding. (Filing No. 73-4 at 30-31; Filing No. 73-11 at 2.)

          On September 28, 2017, Kassen emailed Knopp to notify him of Legend's Creek's position

   that the north-facing siding needed to be replaced and spot repairs were insufficient. (Filing No.

   73-13.) Travelers prepared an estimate that included replacement of the north-facing siding and

   sent it to Kassen. (Filing No. 73-14.) The following day, Knopp replied with his own estimate,

   which also called for replacement of only the north-facing siding. (Filing No. 73-15.) After

   discussing the difference in these estimates with Travelers' siding consultant, Kassen sent Knopp

   an estimate that resolved the differences. (Filing No. 73-16.) On February 7, 2018, Knopp sent

   Kassen a final estimate of an additional payment of $44,007.01, that reflected those revisions and

   provided for replacement of all north-facing siding. (Filing No. 73-17.) In his email, Knopp

   apologized for the delay and requested that Kassen inform him if this last estimate was "good to

   settle" the matter between the two parties. Id. at 1.




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          The February 7, 2018 estimate provided for replacement of the north-facing siding on

   Buildings 1 and 2 with primed but unfinished fiber cement product and replacement of the north-

   facing siding on Buildings 3 and 4 with primed and pre-finished hardboard product, and an

   allowance of approximately $10,000.00 to paint the unfinished siding. (Filing No. 73-11 at 2;

   Filing No. 73-17 at 19-24.) On February 13, 2018, Kassen sent an e-mail to Legend's Creek's

   property manager, board of directors, and contractor stating:

          I am writing this email to act as directions to all parties regarding the future progress
          of this claim and the series of events that shall take place….

          At this point, I have finalized with Travelers the estimate that includes all previous
          items as well as the approved north elevations of siding for replacement…. I have
          gotten the carrier to agree to replacement of the north elevations, with the
          expectation that the north elevation siding at Legend's Creek will be replaced with
          a like kind/quality product; the closest match available. The four large buildings
          along with the four garages will have their north elevations of siding replaced with
          PreFinished, Primed James Hardie HardiePlan[k] – Select Cedarmill 8.25"…. This
          siding will NOT be painted thereafter as it was not painted prior to the loss. Amos
          will be installing the new siding, with me present to oversee production and gather
          evidence. I will then evaluate the argument of full replacement of all of the siding
          due to a gross mismatch IF there is a gross mismatch. We are expecting that there
          will be, however, we must have the work done prior to making that argument.

          There will be no warranty on this new unpainted siding, as the manufacturer's
          installation instructions state that product should be painted after being installed
          within 180 days…. This should not be alarming, as there is not currently a
          manufacturer's warranty on the existing siding.

          However, do not fret. State building code mandates that all manufacturer
          installation instructions should be adopted as building code. Your policy has an
          additional endorsement on it known as "Ordinance or Law" or "Code Upgrade."
          This endorsement will allow me to argue that the new siding must be painted per
          that manufacturer's installation instructions, in correspondence with state building
          code. I will not be making that argument until I have had enough time to argue full
          replacement of the siding after the north elevations have been replaced.

          Remember that this is somewhat a game of chess. Gabe and I have poised Legend's
          Creek to ultimately win this game. At this point, we must proceed with the moves
          that we have planned out several turns ahead of Travelers. If everything goes
          according to plan, Legend's Creek will ultimately have all new siding, which will
          then be painted in accordance with the manufacturer's installation instructions.


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             The instructions above are how I am advising all parties involved to proceed. If
             there are any questions or concerns, please address them with me promptly.

   (Filing No. 73-18.)

             The email demonstrates that Kassen, as well as Amos Exteriors, the company that would

   be replacing the siding, expected the new siding to be a "gross mismatch" with the existing siding,

   necessitating replacement of all siding. (Filing No. 73-4 at 51-52; Filing No. 73-8 at 50-51.) Amos

   Exteriors proceeded to replace the siding on the north elevations of the four buildings and detached

   garages with primed unfinished HardiePlank – Select Cedarmill. (Filing No. 73-8 at 49, 56.)

   However, Legend's Creek did not paint the unfinished siding within 180 days of installation as

   recommended by the manufacturer. (Filing No. 73-2 at 69-70.)

             On April 13, 2018, following the installation of the siding, Kassen emailed Knopp asserting

   that Travelers owed for replacement of all siding. (Filing No. 73-20.) In particular, the email

   stated:

             [i]t is my assertion that Travelers owes for replacement of the remaining elevations
             of siding to include the necessary trim work and painting as there is now a gross
             mismatch of the damage portion of the property whereas before the loss there was
             not. This is resulting in a diminution of property value.

   Id. at 2. This email was the first time Legend's Creek had requested replacement of any siding

   other than the north-facing siding that was damaged in the storm. Kassen's email also stated, "[a]t

   this time, I would like to also request an extension of replacement cost benefits on this claim as

   we are quickly approaching the May 1st date of loss, and there is still reconciliation outstanding."

   Id. at 3.

             On April 15, 2018, Knopp responded, "Thank you for the email and info. I will review

   fully upon my return to the office later this week." (Filing No. 73-21 at 2.) On April 24, 2018,

   Knoop wrote "[w]anted to give you an update to advise that your inquiry to the claim is still

   currently being reviewed." Id. at 1. On April 26, 2018, Kassen asked by email "[w]ill an extension
                                                      6
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   be granted so that we can continue to resolve this outstanding issue? I know the DoL is coming

   up here shortly…". Id. at 1.

          On May 11, 2018, Knopp emailed Kassen to inform him that Travelers was preparing a

   supplemental payment based on the February 7, 2018 estimate, which provided for replacement of

   only the north-facing siding. (Filing No. 73-22.) During a telephone call on June 6, 2018, Knopp

   informed Kassen that Travelers had denied Legend's Creek's claim for replacement of all siding.

   (Filing No. 73-24; Filing No. 73-4 at 65.) On June 21, 2018, Travelers issued the final

   supplemental payment of $44,007.01 for replacement of the north-facing siding. (Filing No. 73-

   11 at 2.) Legend's Creek filed this suit on July 23, 2018 alleging breach of contract and bad faith.

   (Filing No. 73-25.)

                                     II.     LEGAL STANDARD

          The purpose of summary judgment is to “pierce the pleadings and to assess the proof in

   order to see whether there is a genuine need for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio

   Corp., 475 U.S. 574, 587 (1986). Federal Rule of Civil Procedure 56 provides that summary

   judgment is appropriate if “the pleadings, depositions, answers to interrogatories, and admissions

   on file, together with the affidavits, if any, show that there is no genuine issue as to any material

   fact and that the moving party is entitled to judgment as a matter of law.” Hemsworth v.

   Quotesmith.com, Inc., 476 F.3d 487, 489-90 (7th Cir. 2007). A disputed fact must be “material,”

   which means that it might affect the outcome of the case under the applicable substantive law.

   Liberty Lobby, 477 U.S. at 248. Disputes over irrelevant or unnecessary facts do not preclude

   summary judgment. Id. A genuine dispute of material fact exists if “there is sufficient evidence

   favoring the nonmoving party for a jury to return a verdict for that party.” Id. at 249.




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          In ruling on a motion for summary judgment, the court reviews “the record in the light

   most favorable to the non-moving party and draw[s] all reasonable inferences in that party’s

   favor.” Zerante, 555 F.3d at 584 (citation omitted). “However, inferences that are supported by

   only speculation or conjecture will not defeat a summary judgment motion.” Dorsey v. Morgan

   Stanley, 507 F.3d 624, 627 (7th Cir. 2007) (citation and quotation marks omitted). Additionally,

   “[a] party who bears the burden of proof on a particular issue may not rest on its pleadings, but

   must affirmatively demonstrate, by specific factual allegations, that there is a genuine issue of

   material fact that requires trial.” Hemsworth, 476 F.3d at 490 (citation omitted). “The opposing

   party cannot meet this burden with conclusory statements or speculation but only with appropriate

   citations to relevant admissible evidence.” Sink v. Knox Cnty. Hosp., 900 F. Supp. 1065, 1072

   (S.D. Ind. 1995) (citations omitted).

                                           III.   DISCUSSION

          Regarding Count I: Breach of Contract, Travelers argues summary judgment is appropriate

   because Legend's Creek's claims are barred by the two-year Suit Limitation Provision in the Policy.

   Regarding Count II: Bad Faith, Travelers argues that it handled Legend's Creek's claim in good

   faith, and Legend's Creek lacks evidence to the contrary. Because it is dispositive, the Court begins

   its analysis with breach of contract claim.

   A.     Count I: Breach of Contract

          Legend's Creek argues that because Travelers did not pay for the replacement of the other

   three sides of the siding and did not pay to properly repair the north facing siding, it breached the

   Policy. The Policy states that no one may bring legal action against Travelers unless that action is

   brought within two years of the date of loss. (Filing No. 73-3 at 44.) It is undisputed that the date

   of loss in this case is May 1, 2016, and Legend's Creek did not commence this action until July 23,



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   2018—more than two years after the date of loss. Travelers argues this delay entitles it to summary

   judgment. Legend's Creek's defense to this argument is two-fold, they argue that Travelers waived

   the two-year period as a matter of law, or a factual dispute exists regarding waiver. (Filing No. 79

   at 16.)

             Legend's Creek specifically argues (1) that public policy supports waiver rather than

   forfeiture, (2) that Travelers had a duty to notify Legend's Creek of its intent to strictly enforce the

   limitation period, and (3) that Travelers implicitly waived its right to enforce the limitation

   provision by continuing to negotiate and investigate the claim beyond the two-year period.

   Alternatively, Legend's Creek contends that it substantially complied with the limitation provision,

   and this particular provision of the contract is ambiguous. Legend's Creek also maintains that

   Travelers waived its right to enforce the suit limitation provision in the Policy. Its argument breaks

   down into three parts, which the Court will discuss separately.

             1.     Public Policy

             Legend's Creek argues that finding waiver here comports with public policy in Indiana.

   Suit limitation clauses in insurance contracts are unquestionably legal in Indiana. Schafer v.

   Buckeye Union Ins. Co., 381 N.E.2d 519, 522 (Ind. Ct. App. 1978) ("It is well established in

   Indiana that, while not favored, … contractual limitations shortening the time to commence suit

   are valid, at least so long as reasonable time is afforded."). Legend's Creek notes that Indiana

   courts disfavor these provisions because (1) they contravene statutes of limitation set by the

   legislature, (2) there is a societal interest in support of commercial insurance of loss, and (3) a

   limitation period might cause a party to waste resources by bringing suit only to preserve its

   contractual right to do so, although litigation may ultimately be unnecessary. (Filing No. 79 at 16-

   17, (citing Schafer).)



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           The Court accepts these public policy considerations as relevant to the rules of waiver in

   Indiana but does not consider them to be determinative of individual disputes. In other words,

   these policy considerations may have been the rationale for development of a waiver rule that is

   especially generous to policy holders, but the Court must still evaluate whether a Defendant has

   waived its right to enforce a suit limitation provision under that rule. The Court addresses that

   question as to the specific facts of this case in Section III.A.3 of this Entry.

           2.      Duty to Notify

           Legend's Creek argues that "Travelers had a duty to speak if it was going to strictly enforce

   the two-year limitation." (Filing No. 79 at 19.) It cites the following maxim of Indiana law:

           [I]t is the duty of the insurers, pending the consideration of the proofs of loss, to
           bear themselves with all good faith towards the claimant, and if they are satisfied
           with the proof furnished, and have, or have not, the right to demand further proof
           before their liability becomes fixed, they ought to make known to the assured the
           fact and nature of these demands without unnecessary delay.

   Huff v. Travelers Indem. Co., 363 N.E.2d 985, 991-92 (Ind. 1977) (quoting Aetna Ins. Co. v.

   Shreyer, 85 Ind. 362, 366-67 (Ind. 1882)). Legend's Creek interprets this statement of law as a

   duty requiring an insurer to notify the insured that it intends to enforce the suit limitation provision,

   but the Court does not see it that way. A clearer recitation of Indiana's standard can be found in

   the paragraph preceding that quote. "[T]he inquiry is whether anything has been done in the

   relationship between the insurer and the insured which would cause the insured to reasonably

   believe the limitation period will not be insisted upon." Huff at 991. The Court views this second

   quotation as the more definitive recitation of Indiana's standard due to its prevalence in the caselaw

   that has followed Huff. See, e.g., Summers v. Auto-Owners Ins. Co., 719 N.E.2d 412, 415 (Ind.

   Ct. App. 1999) (quoting Wingenroth v. American States Ins. Co., 455 N.E.2d 968, 970 (Ind. Ct.

   App. 1983)).



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          The Court determines that Indiana law does not impose an affirmative duty on an insurer

   to notify its insured of its intent to enforce the suit limitation provision. Instead, the question is

   whether a reasonable insured would have the impression that the insurer does not intend to enforce

   the provision. The Court addresses that question in the next subsection.

          3.      Implicit Waiver by Continued Negotiation and Investigation

          Suit limitation provisions in insurance contracts may be waived either expressly or

   impliedly. Summers, 719 N.E.2d at 414. "A waiver or estoppel may result from acts of insurer

   causing insured or claimant under the policy to delay bringing suit until after the time provided for

   in the policy." Id. at 414-15 (quoting Huff) (internal quotations omitted). Contractual limitation

   periods may be waived if an insurer's conduct is sufficient to create a reasonable belief on the part

   of the insured that strict compliance with the policy provision will not be required. Id. (quoting

   Wingenroth, 455 N.E.2d at 970. Thus, the focus of the court's inquiry is whether the insurer has

   done anything that would cause the insured to reasonably believe the limitation provision will not

   be enforced.

          Legend's Creek argues there are communications between the parties that show Travelers

   did not intend to enforce the two-year limitation period for bringing suit. First, after Legend's

   Creek notified Travelers of the loss on September 22, 2016, the parties "consistently and frequently

   discussed settling" the claim. (Filing No. 79 at 22.) Second, Legend's Creek states that "[o]n April

   13, 2018, Kassen brought to Travelers' attention the gross mismatch between the siding and

   requested replacement for the other three sides and an extension past the two-years." Id. Travelers

   responded, several times informing Kassen that it was reviewing his request but not addressing his

   query about the two-year period. Third, Travelers continued to act on the claim past the May 1,

   2018 date on which the two-year window to file suit expired. On that day, Travelers agreed to



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   release additional funds related to repair and replacement of siding, then twice during May

   indicated it was still considering Legend's Creek's request to replace all siding, only to deny that

   request on June 6, 2018. On June 21, 2018, Travelers paid more to Legend's Creek for the

   replacement of the north-facing siding.

           The posture of this case entitles Legend's Creek to have all factual inferences drawn in its

   favor. But the Court does not ignore facts that are inconvenient to the non-movant nor does it

   accept the non-movant's assertions if they are not supported by evidence in the record. With that

   in mind, the Court finds it necessary to correct Legend's Creek's narrative so that it conforms with

   the record evidence.

           First, Legend's Creek contends that Kassen twice asked Travelers' representative for an

   extension of the two-year suit limitation period and was ignored on both occasions. The record

   shows that is not the case. On April 13, 2018, when Kassen first informed Knopp that he believed

   Travelers must pay for the replacement of all siding on the damaged buildings, he also "request[ed]

   an extension of replacement cost benefits on this claim as we are quickly approaching the May 1st

   date of loss". (Filing No. 73-20 at 3.) He did not mention filing suit or the suit limitation provision

   of the Policy. On April 26, 2018, Kassen asked if "an extension [will] be granted so that we can

   continue to resolve this outstanding issue?" (Filing No. 73-21 at 1.) Again, the discussion is

   regarding the claim only, and he did not mention filing suit or the suit limitation provision.

           Perhaps if this were the only evidence in the record about these requests, Legend's Creek

   would be entitled to an inference that it requested an extension of the suit limitation period and

   Travelers ignored that request. But other evidence, specifically Kassen's deposition testimony,

   indicates that his request did not refer to the suit limitation provision.

           Q Okay. And what is the – what are you asking for an extension of?



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          A I became aware later that Travelers does not have, at least to my understanding,
            a date at which – or a point at which after the loss occurs that they will cut off
            replacement cost benefits, in other words, recoverable depreciation. And so I had
            just assumed that that may – that may be a provision of the policy.

          Q Okay. So you were requesting an extension of time to claim replacement cost
            benefits because, at that point in time, you assumed that there was a deadline for
            that?

          A Correct.

          Q Okay. Were you requesting an extension of anything else in that e-mail?

          A Specifically on April 26?

          Q Yes. I'm just referring to the e-mail itself.

          A I don't believe so.

   (Filing No. 73-4 at 62-63.) Given Kassen's admission that he was not referring to the suit limitation

   provision, no reasonable juror could find that Legend's Creek made a request for an extension of

   the suit limitation period and Travelers ignored that request.

          Second, Travelers mischaracterizes the claims process as "continued negotiations …

   leading up to and after the two-year anniversary of the date of loss." (Filing No. 79 at 23.) This

   characterization ignores the specifics of the parties' discussions, which, until April 13, 2018, only

   involved repair or replacement of the north-facing siding that was damaged in the storm. Kassen

   testified in his deposition that prior to sending the email on April 13, 2018, he had never requested

   that Traveler's pay for anything more than replacement on the north elevation of siding (Filing No.

   73-4 at 61.) Travelers approved Legend's Creeks' claim as to the north-facing siding, and while the

   very last of that money was paid out after the two-year suit limitation period had expired, none of

   that money is at issue in this case. The breach Legend's Creek alleges is based on Travelers' refusal

   to pay for replacement of the siding on the other faces of its buildings. Again, this siding was not




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   damaged in the storm nor did Legend's Creek claim it needed replacement until April 13, 2018—

   102 weeks into the 104-week suit limitation period.

          Moreover, evidence in the record indicates Legend's Creek knew it expected to make a

   claim for replacement of all siding at least a month before it informed Travelers of that expectation.

   In an email to Legend's Creek's principals on February 13, 2013, Kassen wrote that he intended to

   evaluate whether Legend's Creek could make a claim for replacement of all siding based on a

   "gross mismatch" between the new north-facing siding and the rest of the siding. He said that he

   expected there would be a gross mismatch but did not report that expectation to Travelers until a

   month later. (Filing No. 73-18.) Based on that chicanery, it is disingenuous to assert that Travelers

   dragged its feet by continuing to investigate the claim beyond the suit limitation period.

          The record shows that Legend's Creek essentially made a new claim two weeks prior to the

   two-year limitation date. Prior to that point, it had only requested replacement of the north-facing

   siding that was damaged in the storm. Requesting replacement of all siding is not a "negotiation,"

   as Legend's Creek frames it, but a new claim. It does not stem from the same date of loss, as no

   parties contend any siding but that facing north was damaged in the storm on May 1, 2016. And

   it does not involve the same portion of the covered property. The parties engaged in no

   negotiations on this claim to replace all the siding. Legend's Creek made the claim and Travelers

   denied it. That is not a negotiation.

          The point of the claims process is to enforce the Policy the two parties agreed to. In other

   words, after damage or loss occurs, the two parties look to the contract to determine what each

   party is entitled to and responsible for. The Court is persuaded by Travelers argument that the

   record shows Legend's Creek's agent, Kassen, viewed the claims process as a "game" in which the

   goal was to out strategize an opponent and gain an advantage. In this game, he inverted the claims



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   process, first determining a desired result (for Legend's Creek to "ultimately have all new siding")

   and then devising a plan to achieve that result through the claims process.

           That is the version of the facts supported by the record. It does not include any action on

   the part of Travelers that would give Legend's Creek a reasonable impression that Travelers did

   not intend to enforce the suit limitation provision of the Policy. Nor is there evidence that

   Travelers' actions caused Legend's Creek to delay filing suit. Thus, Travelers has not waived its

   right to rely on Legend's Creek's noncompliance with that provision.

           Legend's Creek cites to Huff, in which the Indiana Supreme Court found that an insurer

   waived the suit limitation provision and continued to exchange letters regarding the claim through

   and beyond the limitation period. 363 N.E.2d at 992. But Huff is distinguishable because in Huff

   the parties were discussing the same claim up until and through the expiration of the suit limitation

   period. Here, Legend's Creek sprung a new claim on Travelers two weeks before expiration of the

   suit limitation period and now attempts to use that late claim to escape its bargained-for obligation

   to file suit within two years of loss if it files suit at all.

           Legend's Creek also relies on Schafer, explaining that the parties in that case were engaged

   in active negotiations when the limitation period lapsed. But Legend's Creek and Travelers were

   not actively negotiating in April and May of 2018. The insureds in Schafer, after giving notice,

   submitting proof of loss, and providing examinations under oath, offered a compromise settlement

   of their fire damage claim, provided counter-offers and then made another settlement proposal

   before the suit limitation period expired. Schafer at 520. Here, Travelers had approved and was

   in the process of paying out Legend's Creek's claim for replacement of the north-facing siding.

   Meanwhile, Legend's Creek filed a claim for replacement of all siding, which Travelers later

   denied. Legend's Creek's rhetorical tactic is to call its gamesmanship and the late filing of a new



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   claim "negotiating" and then compare its facts to cases in which the parties were actively

   negotiating. But no negotiation was underway in this case at the end of the limitation period no

   matter how many times Legend's Creek insists it was.

          For those reasons, Travelers has not waived its right to enforce the two-year suit limitation

   provision of the Policy. Because Legend's Creek did not comply with that provision, Travelers is

   entitled to judgment as a matter of law.

          4.        Substantial Compliance

          Alternatively, Legend's Creek argues Travelers' Motion for Summary Judgment should be

   denied because Legend's Creek substantially complied with the suit limitation provision. It cites

   one case in support of this argument, Cont'l Ins. Co. v. Thornburg, 219 N.E.2d 450 (Ind. Ct. App.

   1966). In that case, the Indiana Court of Appeals found that an insurer had waived the contractual

   suit limitation period because the insured relied upon a letter from the insurer asking for an in-

   person meeting. Id. at 454. The court determined under principles of equity that the suit limitation

   period was at least suspended between the day the insured received the letter and the day the

   meeting took place. That suspension meant that the insured had ultimately filed suit within the

   limitation period. The case does not discuss a substantial compliance exception to a contraction

   suit limitation provision.

          Even if Continental can be read to create an exception for substantial compliance, the Court

   would not apply it here. The principles of equity do not aid Legend's Creek in this circumstance,

   as the evidence shows it was the party attempting to game the claims adjustment process and that

   it was Legend's Creek that dragged its feet in asking for replacement of all siding. It would

   contravene equitable principles to allow an insured to circumvent a suit limitation provision by

   filing a new claim at the eleventh hour that the insurer must evaluate.



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          5.      Ambiguity

          Last, Legend's Creek argues that the suit limitation provision is ambiguous. "The Policy

   is ambiguous whether the insured must file suit within two years of date of loss where the claim is

   still under review at the two-year deadline". (Filing No. 79 at 31.) Legend's Creek argues that the

   Policy provision is self-contradictory because in certain cases it would not be possible to comply

   with both provisions. Again, the provision reads:

          No one may bring a legal action against us under this Coverage Form unless:

          a. There has been full compliance with all of the terms of this Coverage Form;
             and
          b. The action is brought within 2 years after the date on which direct physical loss
             or damage occurred.

   Filing No. 73-3 at 44. Legend's Creek argues that for cases where the investigation of the claim

   takes more than two years from the date of loss, an insured cannot both comply with all the terms

   of the coverage form and file suit within two years.

          The Court disagrees. An insured can comply with the coverage form by cooperating in the

   investigation and allowing the insurer to inspect the property and still file suit within two years if

   necessary. Indeed, if Legend's Creek had filed suit before May 1, 2018, it would have complied

   with both provisions, as no evidence showed it failed to comply with the terms of the Coverage

   Form. The provision is similar to one considered in Royer v. USAA Cas. Ins. Co., 781 F.Supp.2d

   767, 770 (N.D. Ind. 2011). The suit limitation provision in that case read:

          7. Suits Against Us. No action can be brought against us unless you have:

                  a. given us notice of the loss,

                  b. complied with all other provisions, and

                  c. started the action within one year after the date of the loss.




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   Like the provision at issue here, that provision requires the insured to both comply with other

   provisions of the policy and file suit within a certain time frame of the date of loss. The Royer

   court found that provision to be unambiguous, and this Court agrees. There is nothing inherently

   contradictory about a provision that requires the insured to comply with the policy and to file suit

   within a certain time frame.

   B.     Bad Faith

          To prove bad faith, Legend's Creek must establish, with clear and convincing evidence,

   that the insurer had knowledge that there was no legitimate basis for denying liability. Villas at

   Winding Ridge v. State Farm Fire & Cas. Co., 942 F.3d 824, 833 (7th Cir. 2019). Legend's Creek

   must also prove Travelers' “conscious wrongdoing” or “culpable mental state”. Summary

   judgment on a bad faith claim is required when the insured presents no evidence or facts that the

   insurer acted with a culpable state of mind, or where the undisputed facts demonstrate that an

   insurer “had a rational and principled basis for denying coverage”. Thompson Hardwoods, Inc. v.

   Transportation Ins. Co., 2002 WL 440222, at *5 (S.D. Ind. Mar. 15, 2002); Masonic Temple

   Association of Crawfordsville v. Indiana Farmers Mut. Ins. Co., 779 N.E.2d 21 (Ind. Ct. App.

   2002) (affirming partial summary judgment in favor of insurer on insured’s bad faith claim where

   facts demonstrated insured had a “rational, principled basis” for denying liability).

          Travelers argues that Legend's Creek "cannot come close to meeting its heavy burden of

   establishing, by clear and convincing evidence, that Travelers knew that there was no legitimate

   basis for denying liability for replacement of all of the siding at the Property." (Filing No. 82 at

   11.) Travelers contends Legend's Creek has presented no evidence that shows it acted with the

   requisite culpable state of mind.




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          Legend's Creek does not dispute that Travelers had a legitimate basis for denying liability

   for replacement of the east, west, and south elevations of undamaged siding. Instead, Legend's

   Creek argues that Travelers consistently made unfounded delays in processing the claim. (Filing

   No. 79 at 34.) The Court is unpersuaded by Legend's Creek's argument. The designated evidence

   is replete with examples of the parties good faith negotiations during the periods of time that

   Legend's Creek now contends were unfounded delays. See (Filing No. 79 at 18, 22, 24.) A good

   faith dispute about the amount of a valid claim does not supply the grounds for a bad faith claim.

   Erie Ins. Co. v. Hickman, 622 N.E.2d 515, 520 (Ind. 1993). Poor judgment, negligence, and lack

   of a diligent investigation are likewise insufficient to establish bad faith. State Farm Mut. Auto.

   Ins. Co. v. Gutierrez, 844 N.E.2d 572, 580 (Ind. Ct. App. 2006). Contrary to Legend's Creek's

   contentions, the designated evidence shows that Travelers had a rational and principled basis for

   its actions. As noted in the background section of this Entry, Kassen admitted as much in his

   deposition testimony.

          More importantly, Travelers cannot be liable for bad faith in the absence of a contractual

   breach. In Indiana, claims made against insurers for breach of the duty of good faith, while

   sounding in tort, are nonetheless subject to contractually agreed upon limitations provisions if

   brought by the insured. Troxell v. Am. States Ins. Co., 596 N.E.2d 921, 925 (Ind. Ct. App. 1992)

   (suit limitation provision barred bad faith claim). Because the Court has determined there was no

   breach of contract, Travelers is entitled to summary judgment on the bad faith claim as well.

                                        IV.    CONCLUSION

          The Court holds that Legend's Creek failed to comply with the suit limitation provision of

   the Policy. Legend's Creek was represented by a public adjuster, consulted with counsel during

   the claim process, had a copy of the policy and was aware that it had two years from the date of



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   loss to commence legal action, yet never requested an extension of time to file suit and failed to

   file suit within the time frame required in the contract. Accordingly, it has no right to relief under

   that contract. Therefore, Travelers' Motion for Summary Judgment, (Filing No. 71), is GRANTED

   as to Legend's Creek's claims for breach of contract and bad faith. As that ruling resolves this suit,

   there is no need to continue the process of appraisal. Accordingly, Travelers' Appeal of the

   Magistrate Judge's Order, (Filing No. 83), is also GRANTED. The Court will issue final judgment

   in a separate order.

          SO ORDERED.

   Date: 1/29/2021


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                     *** PUBLIC DOCKET ***
                                                                                APPEAL,CLOSED

                                U.S. District Court
                     Southern District of Indiana (Indianapolis)
               CIVIL DOCKET FOR CASE #: 1:18-cv-02782-TWP-MPB


 LEGEND's CREEK HOMEOWNERS ASSOCIATION,                    Date Filed: 09/10/2018
 INC. v. TRAVELERS CASUALTY INSURANCE                      Date Terminated: 10/06/2020
 COMPANY OF AMERICA                                        Jury Demand: Plaintiff
 Assigned to: Judge Tanya Walton Pratt                     Nature of Suit: 110 Insurance
 Referred to: Magistrate Judge Matthew P. Brookman         Jurisdiction: Diversity
 Case in other court: 7th Circuit, 20-03163
                     Marion County Superior 12, 49D12-
                     1807-PL-029055
 Cause: 28:1332 Diversity-Insurance Contract
 Plaintiff
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 Defendant
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                                                            501 Indiana Avenue




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                                                            Suite 200
                                                            Indianapolis, IN 46202
                                                            317-237-0500
                                                            Fax: 317-630-2790
                                                            Email: emcnamar@lewiswagner.com
                                                            ATTORNEY TO BE NOTICED

                                                            John Carl Trimble
                                                            LEWIS WAGNER LLP
                                                            501 Indiana Avenue
                                                            Suite 200
                                                            Indianapolis, IN 46202
                                                            (317) 237-0500
                                                            Fax: (317) 630-2790
                                                            Email: jtrimble@lewiswagner.com
                                                            ATTORNEY TO BE NOTICED

                                                            Matthew S. Ponzi
                                                            FORAN GLENNON PALANDECH &
                                                            PONZI, PC
                                                            222 North LaSalle Street, Suite 1400
                                                            Chicago, IL 60601
                                                            312-863-5000
                                                            Fax: 312-863-5099
                                                            Email: mponzi@fgppr.com
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED


  Date Filed       #      Docket Text
  09/10/2018           1 NOTICE OF REMOVAL from Marion, case number 49D12-1807-PL-
                         029055, filed by TRAVELERS CASUALTY INSURANCE COMPANY OF
                         AMERICA. (Filing fee $400, receipt number 0756-5054872) (Attachments:
                         # 1 Exhibit Complaint, # 2 State Court Record, # 3 Civil Cover Sheet)
                         (McNamar, Eric) (Entered: 09/10/2018)
  09/10/2018           2 NOTICE of Appearance by Eric C. McNamar on behalf of Defendant
                         TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA.
                         (McNamar, Eric) (Entered: 09/10/2018)
  09/10/2018           3 NOTICE of Appearance by John Carl Trimble on behalf of Defendant
                         TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA.
                         (Trimble, John) (Entered: 09/10/2018)
  09/10/2018           4 Corporate Disclosure Statement by TRAVELERS CASUALTY
                         INSURANCE COMPANY OF AMERICA identifying Corporate Parent
                         TRAVELERS CASUALTY AND SURETY COMPANY for TRAVELERS
                         CASUALTY INSURANCE COMPANY OF AMERICA.. (McNamar, Eric)
                         (Entered: 09/10/2018)




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  09/10/2018        5 NOTICE of Parties' First Extension of Time, filed by Defendant
                      TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA.
                      (McNamar, Eric) (Entered: 09/10/2018)
  09/11/2018        6 MAGISTRATE JUDGE's NOTICE of Availability to Exercise Jurisdiction
                      issued. (HET) (Entered: 09/11/2018)
  09/12/2018        7 NOTICE of Appearance by David E. Miller on behalf of Plaintiff
                      LEGEND'S CREEK HOMEOWNERS ASSOCIATION, INC.. (Miller,
                      David) (Entered: 09/12/2018)
  09/18/2018        8 NOTICE of Change of Attorney Information. Consistent with Local Rule 5-
                      3, William David Beyers hereby notifies the Clerk of the court of changed
                      contact information. (Beyers, William) (Entered: 09/18/2018)
  09/19/2018        9 ORDER SETTING INITIAL PRE-TRIAL CONFERENCE - Initial
                      Telephonic Pretrial Conference set for 12/5/2018 at 11:00 AM (Eastern
                      Time) before Magistrate Judge Matthew P. Brookman. The information
                      needed to participate in this telephonic conference will be provided by a
                      separate notification. No fewer than seven (7) days before the IPTC, counsel
                      must file a Proposed CMP. SEE ORDER. Signed by Magistrate Judge
                      Matthew P. Brookman on 9/19/2018.(JRB) (Entered: 09/19/2018)
  09/19/2018       10 NOTICE of Appearance by William David Beyers on behalf of Plaintiff
                      LEGEND'S CREEK HOMEOWNERS ASSOCIATION, INC.. (Beyers,
                      William) (Entered: 09/19/2018)
  09/19/2018       11 AMENDED COMPLAINT against TRAVELERS CASUALTY
                      INSURANCE COMPANY OF AMERICA, filed by LEGEND'S CREEK
                      HOMEOWNERS ASSOCIATION, INC.. (Attachments: # 1 Exhibit Final
                      Estimate from Travelers)(Beyers, William) (Entered: 09/19/2018)
  09/26/2018       12 MOTION for Attorney(s) Matthew P. Fontin to Appear pro hac vice (Filing
                      fee $100, receipt number 0756-5080951), filed by Defendant TRAVELERS
                      CASUALTY INSURANCE COMPANY OF AMERICA. (Attachments: # 1
                      Exhibit A - Certification of Matthew Fontin, # 2 Text of Proposed Order)
                      (McNamar, Eric) (Entered: 09/26/2018)
  09/26/2018       13 MOTION for Attorney(s) Matthew S. Ponzi to Appear pro hac vice (Filing
                      fee $100, receipt number 0756-5080994), filed by Defendant TRAVELERS
                      CASUALTY INSURANCE COMPANY OF AMERICA. (Attachments: # 1
                      Exhibit A - Certification of Matthew Ponzi, # 2 Text of Proposed Order)
                      (McNamar, Eric) (Entered: 09/26/2018)
  09/28/2018       14 ORDER granting 12 Motion to Appear pro hac vice. Attorney Matthew P.
                      Fortin for TRAVELERS CASUALTY INSURANCE COMPANY OF
                      AMERICA added. Signed by Magistrate Judge Matthew P. Brookman on
                      9/28/2018. (TMB) (Entered: 09/28/2018)
  09/28/2018       15 ORDER granting 13 Motion to Appear pro hac vice. Attorney Matthew S.
                      Ponzi for TRAVELERS CASUALTY INSURANCE COMPANY OF
                      AMERICA added. Signed by Magistrate Judge Matthew P. Brookman on




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                        9/28/2018. (TMB) (Entered: 09/28/2018)
  10/08/2018       16 Defendant's ANSWER to 11 Amended Complaint , filed by TRAVELERS
                      CASUALTY INSURANCE COMPANY OF AMERICA. (Attachments: # 1
                      Exhibit)(McNamar, Eric) (Entered: 10/08/2018)
  11/28/2018       18 CASE MANAGEMENT PLAN TENDERED, filed by Defendant
                      TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA .
                      (McNamar, Eric) (Entered: 11/28/2018)
  12/03/2018       19 SCHEDULING ORDER: On the Court's own motion, the Telephonic Initial
                      Pretrial Conference set for 12/5/2018 is hereby RESCHEDULED for
                      12/4/2018 at 02:30 PM (Eastern Time) in Telephonic before Magistrate
                      Judge Matthew P. Brookman. The information needed by counsel to
                      participate in this telephonic conference has been previously provided at
                      Docket No. 17 . Signed by Magistrate Judge Matthew P. Brookman on
                      12/3/2018.(TMB) (Entered: 12/03/2018)
  12/06/2018       20 ORDER: CASE MANAGEMENT PLAN APPROVED AS SUBMITTED.
                      Initial Pretrial Conference held on 12/4/2018. Discovery due by 7/10/2019.
                      Dispositive Motions due by 9/10/2019. Settlement Conference set for
                      8/6/2019 at 02:00 PM (Eastern Time) in room #316, United States
                      Courthouse, 46 E. Ohio Street, Indianapolis, Indiana before Magistrate Judge
                      Matthew P. Brookman. Status Conference set for 6/3/2019 at 10:30 AM
                      (Eastern Time) in Telephonic before Magistrate Judge Matthew P.
                      Brookman. Signed by Magistrate Judge Matthew P. Brookman on
                      12/6/2018.(TMB) (Entered: 12/06/2018)
  01/07/2019       21 MOTION for Protective Order , filed by Defendant TRAVELERS
                      CASUALTY INSURANCE COMPANY OF AMERICA. (Attachments: # 1
                      Text of Proposed Order)(McNamar, Eric) (Entered: 01/07/2019)
  01/09/2019       22 ORDER granting 21 Motion for Protective Order. Signed by Magistrate
                      Judge Matthew P. Brookman on 1/9/2019. (JRB) (Entered: 01/09/2019)
  01/14/2019       23 NOTICE of Service of Initial Disclosures , filed by Defendant TRAVELERS
                      CASUALTY INSURANCE COMPANY OF AMERICA. (McNamar, Eric)
                      (Entered: 01/14/2019)
  01/14/2019       24 NOTICE of Service of Initial Disclosures , filed by Plaintiff LEGEND'S
                      CREEK HOMEOWNERS ASSOCIATION, INC.. (Miller, David) (Entered:
                      01/14/2019)
  01/25/2019       25 Witness List , filed by Plaintiff LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC.. (Beyers, William) (Entered: 01/25/2019)
  01/25/2019       26 Exhibit List , filed by Plaintiff LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC.. (Beyers, William) (Entered: 01/25/2019)
  01/28/2019       27 NOTICE of Change of Attorney Information. Consistent with Local Rule 5-
                      3, David E. Miller hereby notifies the Clerk of the court of changed contact
                      information. (Miller, David) (Entered: 01/28/2019)




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  01/28/2019       28 Preliminary Exhibit List , filed by Defendant TRAVELERS CASUALTY
                      INSURANCE COMPANY OF AMERICA. (McNamar, Eric) Modified on
                      1/29/2019 - Edited title(NAD). (Entered: 01/28/2019)
  01/28/2019       29 Preliminary Witness List , filed by Defendant TRAVELERS CASUALTY
                      INSURANCE COMPANY OF AMERICA. (McNamar, Eric) Modified on
                      1/29/2019 - Added Preliminary to title(NAD). (Entered: 01/28/2019)
  01/28/2019       30 Preliminary Witness List , filed by Plaintiff LEGEND'S CREEK
                      HOMEOWNERS ASSOCIATION, INC.. (Beyers, William) Modified on
                      1/29/2019 - Added Preliminary to title (NAD). (Entered: 01/28/2019)
  01/28/2019       31 Preliminary Exhibit List , filed by Plaintiff LEGEND'S CREEK
                      HOMEOWNERS ASSOCIATION, INC.. (Beyers, William) Modified on
                      1/29/2019 - Added Preliminary to title (NAD). (Entered: 01/28/2019)
  01/28/2019       32 MOTION to Amend/Correct 11 Amended Complaint , filed by Plaintiff
                      LEGEND'S CREEK HOMEOWNERS ASSOCIATION, INC..
                      (Attachments: # 1 Exhibit Second Amended Complaint, # 2 Exhibit Exhibit
                      to Second Amended Complaint - Traveler's Final Estimate)(Beyers,
                      William) (Entered: 01/28/2019)
  01/31/2019       33 Submission of Proposed Order , re 32 MOTION to Amend/Correct 11
                      Amended Complaint , filed by Plaintiff LEGEND'S CREEK
                      HOMEOWNERS ASSOCIATION, INC.. (Beyers, William) (Entered:
                      01/31/2019)
  01/31/2019       34 ORDER granting 32 Motion to Amend Complaint - Plaintiff to submit its
                      Amended Complaint as a separate docket entry within five (5) days. Signed
                      by Magistrate Judge Matthew P. Brookman on 1/31/2019. (JRB) (Entered:
                      01/31/2019)
  02/05/2019       35 AMENDED COMPLAINT (Second) against TRAVELERS CASUALTY
                      INSURANCE COMPANY OF AMERICA, filed by LEGEND'S CREEK
                      HOMEOWNERS ASSOCIATION, INC.. (Attachments: # 1 Exhibit
                      Travelers Final Estimate)(Beyers, William) (Entered: 02/05/2019)
  02/19/2019       36 ANSWER to 35 Second Amended Complaint , filed by THE TRAVELERS
                      INDEMNITY COMPANY OF AMERICA.(McNamar, Eric) Modified on
                      2/20/2019 - Edited to reflect Second Amended Complaint (NAD). (Entered:
                      02/19/2019)
  03/14/2019       37 SCHEDULING ORDER - Having approved the Case Management Plan as
                      submitted, the Court hereby sets the final pretrial conference on April 15,
                      2020 at 10:00 a.m. in Room 330, and the jury trial to begin on May 11, 2020
                      at 9:00 a.m. in Courtroom 344, Birch Bayh Federal Building and United
                      States Courthouse, 46 East Ohio Street, Indianapolis, Indiana. The final
                      pretrial conference is for attorneys only. At the final pretrial conference,
                      Counsel shall be prepared to discuss the status of the action, including all
                      matters requiring completion prior to trial. Counsel shall review the Court's
                      Courtroom Procedures and Trial Practice. Signed by Judge Tanya Walton




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                        Pratt on 3/14/2019.(NAD) (Entered: 03/14/2019)
  03/14/2019       38 TRIAL PROCEDURES AND PRACTICES before Judge Tanya Walton
                      Pratt. (NAD) (Entered: 03/14/2019)
  06/04/2019       40 MINUTE ORDER for proceedings held before Magistrate Judge Matthew P.
                      Brookman: Status Conference held on 6/3/2019. Section III of the Case
                      Management Plan is amended as follows: C. Discovery shall be completed
                      by August 30, 2019.Signed by Magistrate Judge Matthew P. Brookman.
                      (TMB) (Entered: 06/04/2019)
  07/08/2019       41 MOTION for Extension of Time to 9/10/19 and 10/10/19 in which to 20
                      Order: Case ManagementSet Deadlines/Hearings , filed by Defendant THE
                      TRAVELERS INDEMNITY COMPANY OF AMERICA. (Attachments: #
                      1 Text of Proposed Order)(McNamar, Eric) (Entered: 07/08/2019)
  07/09/2019       42 ORDER ON AGREED 41 MOTION FOR EXTENSION OF CERTAIN
                      CASE MANAGEMENT DEADLINES - The deadline to complete non-
                      expert witness discovery, discovery relating to liability issues is now
                      CONTINUED up to and including September 10, 2019, and the deadline to
                      file dispositive motions is CONTINUED up to and including October 10,
                      2019. Signed by Judge Tanya Walton Pratt on 7/9/2019.(NAD) (Entered:
                      07/09/2019)
  07/30/2019       43 MOTION (Joint) to Reschedule Settlement Conference, filed by Defendant
                      THE TRAVELERS INDEMNITY COMPANY OF AMERICA.
                      (Attachments: # 1 Text of Proposed Order)(McNamar, Eric) (Entered:
                      07/30/2019)
  07/31/2019       44 SCHEDULING ORDER: Telephonic Status Conference set for 8/2/2019 at
                      11:30 AM (Eastern Time) before Magistrate Judge Matthew P. Brookman.
                      The information needed by counsel to participate in this telephonic
                      conference will be provided by a separate notification. Signed by Magistrate
                      Judge Matthew P. Brookman on 7/31/2019.(JRB) (Entered: 07/31/2019)
  08/05/2019       46 MINUTE ORDER for proceedings held before Magistrate Judge Matthew P.
                      Brookman: Status Conference held on 8/2/2019. The Joint Motion to
                      Reschedule the Settlement Conference (Docket No. 43 ) is GRANTED. The
                      SETTLEMENT CONFERENCE set for August 6, 2019 is VACATED.
                      Parties are ORDERED to engage in a private mediation on or before
                      September 30, 2019. On or before August 15, 2019, parties shall file a
                      Notice with the Court including the mediator's name and the date of the
                      mediation. Within seven (7) days of the date of the mediation, the mediator
                      shall file a Mediator's Report with the Court. Signed by Magistrate Judge
                      Matthew P. Brookman. (TMB) (Entered: 08/05/2019)
  08/16/2019       47 NOTICE of Schedulnig Mediation, filed by Defendant THE TRAVELERS
                      INDEMNITY COMPANY OF AMERICA, re 46 Order on MotionStatus
                      ConferenceTerminate Hearings. (McNamar, Eric) (Entered: 08/16/2019)
  09/04/2019       48 MINUTE ORDER for proceedings held before Magistrate Judge Matthew P.




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                        Brookman: Discovery Conference held on 8/29/2019. Telephonic Discovery
                        Conference set for 9/5/2019 at 10:30 AM (Eastern Time) before Magistrate
                        Judge Matthew P. Brookman. Signed by Magistrate Judge Matthew P.
                        Brookman. (TMB) (Entered: 09/04/2019)
  09/05/2019       50 MINUTE ORDER for proceedings held before Magistrate Judge Matthew P.
                      Brookman: Status Conference held on 9/5/2019. Parties were represented by
                      counsel. No further orders are entered at this time. Signed by Magistrate
                      Judge Matthew P. Brookman. (TMB) (Entered: 09/05/2019)
  09/10/2019       51 Joint MOTION for Extension of Time to in which to 20 Order: Case
                      ManagementSet Deadlines/Hearings , filed by Defendant THE
                      TRAVELERS INDEMNITY COMPANY OF AMERICA. (Attachments: #
                      1 Text of Proposed Order)(McNamar, Eric) (Entered: 09/10/2019)
  09/12/2019       52 ORDER ON JOINT MOTION FOR EXTENSION OF DEADLINES - This
                      matter comes before the Court on the Parties' Joint Motion for Extension of
                      Deadlines, and the Court being duly advised, now GRANTS said Motion.
                      The deadline to complete non-expert witness discovery, discovery relating to
                      liability issues is now CONTINUED up to and including October 10, 2019,
                      the deadline to file dispositive motions is CONTINUED up to and including
                      November 10, 2019, the deadline for Plaintiff's expert disclosures is
                      CONTINUED up to and including October 10, 2019, and the deadline for
                      Defendant's expert disclosures is CONTINUED up to and including
                      November 10, 2019. Signed by Judge Tanya Walton Pratt on 9/12/2019.
                      (NAD) (Entered: 09/12/2019)
  10/07/2019       53 SCHEDULING ORDER: TELEPHONIC STATUS CONFERENCE on
                      OCTOBER 23, 2019 at 3:00 p.m., Indianapolis time (EST), before the
                      Honorable Matthew P. Brookman, United States Magistrate Judge. The
                      information needed by counsel to participate in this telephonic conference
                      will be provided by a separate notification. Signed by Magistrate Judge
                      Matthew P. Brookman on 10/7/2019.(JRB) (Entered: 10/07/2019)
  10/08/2019       54 MOTION for Extension of Time to various case management deadlines ,
                      filed by Defendant THE TRAVELERS INDEMNITY COMPANY OF
                      AMERICA. (Attachments: # 1 Text of Proposed Order)(McNamar, Eric)
                      (Entered: 10/08/2019)
  10/09/2019       55 ORDER ON JOINT 54 MOTION FOR EXTENSION OF DEADLINES -
                      Dispositive Motions due by 12/24/2019, Discovery due by 11/24/2019. (See
                      Order for deadlines.) Signed by Judge Tanya Walton Pratt on 10/9/2019.
                      (NAD) (Entered: 10/10/2019)
  10/23/2019       57 MINUTE ORDER for proceedings held before Magistrate Judge Matthew P.
                      Brookman: Status Conference held on 10/23/2019. Section IV of the Case
                      Management Plan is amended as follows: Discovery shall be completed by
                      December 20, 2019. Dispositive motions shall be filed according to the
                      following briefing schedule: Defendant's Motion shall be filed by January
                      24, 2020. Plaintiff's Motion and Response shall be filed by February 24,
                      2020. Defendant's Response and Reply shall be filed by March 25, 2020.




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                        Plaintiff's Reply shall be filed by April 9, 2020. Telephonic Status
                        Conference set for 1/13/2020 at 11:30 AM (Eastern Time) before Magistrate
                        Judge Matthew P. Brookman. Signed by Magistrate Judge Matthew P.
                        Brookman. (TMB) (Entered: 10/23/2019)
  10/25/2019       58 MOTION to Order Parties to Appraisal, filed by Plaintiff LEGEND'S
                      CREEK HOMEOWNERS ASSOCIATION, INC.. (Attachments: # 1 Exhibit
                      Insurance Policy, # 2 Text of Proposed Order Proposed Order)(Beyers,
                      William) (Entered: 10/25/2019)
  10/29/2019       59 MOTION /Notice to Reply to Plaintiff's Motion to Order Parties to
                      Appraisal and Request for Telephonic Conference, filed by Defendant THE
                      TRAVELERS INDEMNITY COMPANY OF AMERICA. (Attachments: #
                      1 Text of Proposed Order)(McNamar, Eric) (Entered: 10/29/2019)
  10/31/2019       60 ORDER denying 59 Motion of NOTICE OF INTENT TO REPLY TO
                      PLAINTIFF'S MOTION TO ORDER PARTIES TO APPRAISAL AND
                      REQUEST FOR TELEPHONIC CONFERENCE. SEE ORDER. Signed by
                      Magistrate Judge Matthew P. Brookman on 10/31/2019. (JRB) (Entered:
                      10/31/2019)
  11/07/2019       61 RESPONSE in Opposition re 58 MOTION to Order Parties to Appraisal ,
                      filed by Defendant THE TRAVELERS INDEMNITY COMPANY OF
                      AMERICA. (Attachments: # 1 Exhibit 1-9/10/19 Email from Pl's Counsel)
                      (McNamar, Eric) (Entered: 11/07/2019)
  11/14/2019       62 REPLY in Support of Motion re 58 MOTION to Order Parties to
                      Appraisal , filed by Plaintiff LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC.. (Attachments: # 1 Exhibit Sales Representative
                      Testimony, # 2 Exhibit Payment Letter)(Beyers, William) (Entered:
                      11/14/2019)
  11/22/2019       63 Witness List /Expert Disclosures, filed by Plaintiff LEGEND'S CREEK
                      HOMEOWNERS ASSOCIATION, INC.. (Beyers, William) (Entered:
                      11/22/2019)
  12/24/2019       64 NOTICE of Service of Defendant's Expert Disclosures, filed by Defendant
                      THE TRAVELERS INDEMNITY COMPANY OF AMERICA (McNamar,
                      Eric) (Entered: 12/24/2019)
  12/27/2019       65 Witness List , filed by Plaintiff LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC.. (Beyers, William) (Entered: 12/27/2019)
  12/27/2019       66 Exhibit List , filed by Plaintiff LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC.. (Beyers, William) (Entered: 12/27/2019)
  12/30/2019       67 Exhibit List , filed by Defendant THE TRAVELERS INDEMNITY
                      COMPANY OF AMERICA. (Fortin, Matthew) (Entered: 12/30/2019)
  12/30/2019       68 Witness List , filed by Defendant THE TRAVELERS INDEMNITY
                      COMPANY OF AMERICA. (Fortin, Matthew) (Entered: 12/30/2019)
  01/16/2020       70 MINUTE ORDER for proceedings held before Magistrate Judge Matthew P.



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                        Brookman: Status Conference held on 1/13/2020. Parties were represented
                        by counsel. No further orders are entered at this time. Signed by Magistrate
                        Judge Matthew P. Brookman. (TMB) (Entered: 01/16/2020)
  01/24/2020       71 MOTION for Summary Judgment , filed by Defendant THE TRAVELERS
                      INDEMNITY COMPANY OF AMERICA. (Fortin, Matthew) (Entered:
                      01/24/2020)
  01/24/2020       72 BRIEF/MEMORANDUM in Support re 71 MOTION for Summary
                      Judgment , filed by Defendant THE TRAVELERS INDEMNITY
                      COMPANY OF AMERICA. (Fortin, Matthew) (Entered: 01/24/2020)
  01/24/2020       73 Designation of Evidence re 72 Brief/Memorandum in Support of Motion for
                      Summary Judgment, filed by Defendant THE TRAVELERS INDEMNITY
                      COMPANY OF AMERICA. (Attachments: # 1 Exhibit 1 - Answer to 2nd
                      Am Compl, # 2 Exhibit 2 - Cox Dep Tr, # 3 Exhibit 3 - Insurance Policy, # 4
                      Exhibit 4 - Kassen Dep Tr, # 5 Exhibit 5 - Poland Dep Tr, # 6 Exhibit 6 -
                      Porth Ltr Report, # 7 Exhibit 7 - 09 11 17 Email, # 8 Exhibit 8 - Swords Dep
                      Tr, # 9 Exhibit 9 - 09 22 16 Public Adjuster Contract, # 10 Exhibit 10 - 10 06
                      16 Email, # 11 Exhibit 11 - Knopp Affidavit, # 12 Exhibit 12 - 11 03 16
                      Email, # 13 Exhibit 13 - 09 28 17 Email, # 14 Exhibit 14 - 10 18 17 Email
                      and Estimate, # 15 Exhibit 15 - 10 19 17 Email and Estimate, # 16 Exhibit
                      16 - 10 24 17 Email, # 17 Exhibit 17 - 02 07 18 Email and Estimate, # 18
                      Exhibit 18 - 02 13 18 Email, # 19 Exhibit 19 - Itel Report, # 20 Exhibit 20 -
                      04 13 18 Email, # 21 Exhibit 21 - 04 26 18 Email, # 22 Exhibit 22 - 05 11 18
                      Email, # 23 Exhibit 23 - Various Emails, # 24 Exhibit 24 - 06 06 18 Email, #
                      25 Exhibit 25 - Complaint)(Fortin, Matthew) (Entered: 01/24/2020)
  02/07/2020       74 ***PLEASE DISREGARD WITHDRAWN BY 78 *** MOTION to
                      Compel Spartan Claims, LLC's Response to Non-Party Discovery (), filed by
                      Defendant THE TRAVELERS INDEMNITY COMPANY OF AMERICA.
                      (Attachments: # 1 Exhibit 1-11/27/19 Email from Atty Miller to Opposing
                      Counsel Non-Party Request to Spartan, # 2 Exhibit 2-11/30/19 Email From
                      Atty McNamar and Non-Party Request to Spartan, # 3 Exhibit 3-1/13.20
                      Email from Atty McNamar and Non-Party Request to Spartan, # 4 Exhibit 4-
                      1/23/20 Email from Atty Fortin regarding status of Response to Request for
                      Production, # 5 Text of Proposed Order)(McNamar, Eric) Modified on
                      2/10/2020 - Edited docket text to match caption (NAD). Modified on
                      3/10/2020 (JRB). (Entered: 02/07/2020)
  02/19/2020       75 Joint MOTION for Extension of Deadlines, filed by Plaintiff LEGEND'S
                      CREEK HOMEOWNERS ASSOCIATION, INC.. (Attachments: # 1 Text of
                      Proposed Order Proposed Order)(Beyers, William) (Entered: 02/19/2020)
  02/20/2020       76 ORDER ON JOINT 75 MOTION FOR CONTINUATION OF TRIAL
                      DATE AND AMENDING CASE MANAGEMENT DEADLINES - The
                      deadline to complete non-expert witness discovery, discovery relating to
                      liability issues, expert witness discovery and discovery relating to damages
                      are now CONTINUED up to and including June 1, 2020; the final pretrial
                      conference is now set for November 10, 2020 at 9:00 a.m. in Courtroom 344;




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                        and the jury trial will now begin on December 7, 2020 at 9:00 a.m. in
                        Courtroom 344. The court also extends the dispositive motion briefing
                        schedule to: March 23, 2020 for Plaintiff to file a counter motion for
                        summary judgment and response. Defendant's Response will be due April
                        20, 2020. Plaintiff's Reply will be due May 12, 2020. Signed by Judge Tanya
                        Walton Pratt on 2/20/2020.(NAD) (Entered: 02/21/2020)
  03/06/2020       77 MOTION to Withdraw 74 MOTION to Compel Spartan Claims, LLC's
                      Response to Non-Party Discovery, filed by Defendant THE TRAVELERS
                      INDEMNITY COMPANY OF AMERICA. (Attachments: # 1 Text of
                      Proposed Order)(McNamar, Eric) Modified text on 3/9/2020 (TMB).
                      (Entered: 03/06/2020)
  03/10/2020       78 ORDER GRANTING 77 Motion to Withdraw 74 Motion to Compel - SEE
                      ORDER. Signed by Magistrate Judge Matthew P. Brookman on 3/10/2020.
                      (JRB) (Entered: 03/10/2020)
  03/23/2020       79 RESPONSE in Opposition re 71 MOTION for Summary Judgment , filed by
                      Plaintiff LEGEND'S CREEK HOMEOWNERS ASSOCIATION, INC..
                      (Beyers, William) (Entered: 03/23/2020)
  03/23/2020       80 Designation of Evidence re 79 Response in Opposition to Motion for
                      Summary Judgment, filed by Plaintiff LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC.. (Attachments: # 1 Exhibit Knopp Deposition, # 2
                      Exhibit Hurwitz Affidavit, # 3 Exhibit Final Letter From Travelers, # 4
                      Exhibit Estimate of Loss, # 5 Exhibit Aaron Poland Report, # 6 Exhibit
                      Bauer Deposition)(Beyers, William) (Entered: 03/23/2020)
  04/14/2020       81 ORDER granting 58 Motion to Order Parties to Appraisal - The parties are
                      ordered to commence the appraisal process as outlined in the Policy within
                      14 days of the date of this Entry. SEE ORDER. Signed by Magistrate Judge
                      Matthew P. Brookman on 4/14/2020. (JRB) (Entered: 04/14/2020)
  04/20/2020       82 REPLY in Support of Motion re 71 MOTION for Summary Judgment , filed
                      by Defendant THE TRAVELERS INDEMNITY COMPANY OF
                      AMERICA. (McNamar, Eric) (Entered: 04/20/2020)
  04/28/2020       83 APPEAL OF MAGISTRATE JUDGE DECISION to District Court by THE
                      TRAVELERS INDEMNITY COMPANY OF AMERICA re 81 Order on
                      Motion (McNamar, Eric) (Entered: 04/28/2020)
  05/12/2020       84 RESPONSE in Opposition re 83 APPEAL OF MAGISTRATE JUDGE
                      DECISION to District Court by THE TRAVELERS INDEMNITY
                      COMPANY OF AMERICA re 81 Order on Motion , filed by Plaintiff
                      LEGEND'S CREEK HOMEOWNERS ASSOCIATION, INC..
                      (Attachments: # 1 Exhibit Email Nominating Appraisers, # 2 Exhibit Aaron
                      Poland Report, # 3 Text of Proposed Order Order Overruling Objections)
                      (Beyers, William) (Entered: 05/12/2020)
  05/19/2020       85 REPLY in Support of Motion re 83 APPEAL OF MAGISTRATE JUDGE
                      DECISION to District Court by THE TRAVELERS INDEMNITY




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                        COMPANY OF AMERICA re 81 Order on Motion to Order Parties to
                        Appraisal, filed by Defendant THE TRAVELERS INDEMNITY
                        COMPANY OF AMERICA. (Attachments: # 1 Exhibit)(McNamar, Eric)
                        (Entered: 05/19/2020)
  10/06/2020       86 ENTRY ON DEFENDANT'S 71 MOTION FOR SUMMARY JUDGMENT
                      AND 83 APPEAL OF THE MAGISTRATE JUDGE'S DECISION - The
                      Court holds that Legend's Creek failed to comply with the suit limitation
                      provision of the Policy. Legend's Creek was represented by a public adjuster,
                      consulted with counsel during the claim process, had a copy of the policy
                      and was aware that it had two years from the date of loss to commence legal
                      action, yet never requested an extension of time to file suit and failed to file
                      suit within the time frame required in the contract. Accordingly, it has no
                      right to relief under that contract. Therefore, Travelers' Motion for Summary
                      Judgment, ( Filing No. 71 ), is GRANTED as to Legend's Creek's claims for
                      breach of contract and bad faith. As that ruling resolves this suit, there is no
                      need to continue the process of appraisal. Accordingly, Travelers' Appeal of
                      the Magistrate Judge's Order, (Filing No. 83 ), is also GRANTED. The Court
                      will issue final judgment in a separate order. (See Order.) Signed by Judge
                      Tanya Walton Pratt on 10/6/2020. (NAD) (Entered: 10/06/2020)
  10/06/2020       87 FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58 - The Court
                      having this day made its Entry directing the entry of final judgment, the
                      Court now enters FINAL JUDGMENT. For the reasons detailed in the
                      Court's Entry on Pending Motions, the Court now enters FINAL
                      JUDGMENT in this action in favor of Defendant Travelers Indemnity
                      Company on Plaintiffs' claims for breach of contract and bad faith.
                      Therefore, Plaintiff Legend's Creek Homeowners Association, Inc. shall take
                      nothing by its Complaint. Judgment is entered accordingly, and this cause is
                      TERMINATED. Signed by Judge Tanya Walton Pratt on 10/6/2020.(NAD)
                      (Entered: 10/06/2020)
  10/13/2020       88 BILL OF COSTS by THE TRAVELERS INDEMNITY COMPANY OF
                      AMERICA. (Attachments: # 1 Exhibit 1-Fees of Court, # 2 Exhibit 2-
                      Deposition Transcripts)(Ponzi, Matthew) (Entered: 10/13/2020)
  10/22/2020       89 First MOTION for Disallowance re Defendant's 88 Bill of Costs, filed by
                      Plaintiff LEGEND'S CREEK HOMEOWNERS ASSOCIATION, INC..
                      (Attachments: # 1 Text of Proposed Order Order Partially Denying Bill of
                      Costs)(Beyers, William) Modified on 10/23/2020 - added link to 88 (NAD).
                      (Entered: 10/22/2020)
  11/03/2020       90 First MOTION for Reconsideration re 87 Closed Judgment, 86 Order on
                      Motion for Summary JudgmentOrder on Appeal of Magistrate Judge
                      Decision to District Court , filed by Plaintiff LEGEND'S CREEK
                      HOMEOWNERS ASSOCIATION, INC.. (Attachments: # 1 Exhibit Exhibit
                      1 - Appraisal Award, # 2 Exhibit Exhibit 2 - Emails re Appraisal Award, # 3
                      Exhibit Exhibit 3 - Check, # 4 Exhibit Exhibit 4 - Appraisal Letter From
                      Opposing Counsel, # 5 Exhibit Exhibit 5 - Match Email From Panel, # 6
                      Exhibit Exhibit 6 - Affidavit of DEM, # 7 Exhibit Exhibit 7 - Legends Creek




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                        HOA Inc - Invoice - # - 1670, # 8 Exhibit Exhibit 8 - Stop Payment, # 9 Text
                        of Proposed Order Order Granting Plaintiff's Motion to Amend or Alter
                        Judgment)(Beyers, William) (Entered: 11/03/2020)
  11/03/2020       91 BRIEF/MEMORANDUM in Support re 90 First MOTION for
                      Reconsideration re 87 Closed Judgment, 86 Order on Motion for Summary
                      JudgmentOrder on Appeal of Magistrate Judge Decision to District Court ,
                      filed by Plaintiff LEGEND'S CREEK HOMEOWNERS ASSOCIATION,
                      INC.. (Beyers, William) (Entered: 11/03/2020)
  11/03/2020       92 First MOTION to Set Aside Judgment re 86 87 , filed by Plaintiff
                      LEGEND'S CREEK HOMEOWNERS ASSOCIATION, INC..
                      (Attachments: # 1 Exhibit Exhibit 1 - Appraisal Award, # 2 Exhibit Exhibit 2
                      - Emails re Appraisal Award, # 3 Exhibit Exhibit 3 - Check, # 4 Exhibit
                      Exhibit 4 - Appraisal Letter From Opposing Counsel, # 5 Exhibit Exhibit 5 -
                      Legends Creek HOA Inc - Invoice - # - 1670, # 6 Exhibit Exhibit 6 - Stop
                      Payment, # 7 Text of Proposed Order Order Granting Motion to Set Aside
                      Judgment)(Beyers, William) Modified on 11/3/2020 to add links for counsel
                      (KAA). (Entered: 11/03/2020)
  11/03/2020       93 BRIEF/MEMORANDUM in Support re 92 First MOTION to Set Aside
                      Judgment , filed by Plaintiff LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC.. (Beyers, William) (Entered: 11/03/2020)
  11/04/2020       94 NOTICE OF APPEAL as to 87 Closed Judgment, 86 Order on Motion for
                      Summary JudgmentOrder on Appeal of Magistrate Judge Decision to
                      District Court, filed by Plaintiff LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC.. (Filing fee $505, receipt number 0756-6260881)
                      (Miller, David) (Entered: 11/04/2020)
  11/04/2020       95 DOCKETING STATEMENT by LEGEND'S CREEK HOMEOWNERS
                      ASSOCIATION, INC. re 94 Notice of Appeal (Miller, David) (Entered:
                      11/04/2020)
  11/05/2020       96 PARTIES' SHORT RECORD re 94 Notice of Appeal - Instructions for
                      Attorneys/Parties attached. (LBT) (Entered: 11/05/2020)
  11/05/2020       97 Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals
                      re 94 Notice of Appeal. - for Court of Appeals Use Only. (LBT) (Entered:
                      11/05/2020)
  11/06/2020       98 USCA Case Number 20-3163 for 94 Notice of Appeal filed by LEGEND'S
                      CREEK HOMEOWNERS ASSOCIATION, INC. (LBT) (Entered:
                      11/06/2020)
  11/13/2020       99 MOTION for Extension of Time to File Response to November 24, 2020 re
                      92 First MOTION to Set Aside Judgment , 90 First MOTION for
                      Reconsideration re 87 Closed Judgment, 86 Order on Motion for Summary
                      JudgmentOrder on Appeal of Magistrate Judge Decision to District Court ,
                      filed by Defendant THE TRAVELERS INDEMNITY COMPANY OF
                      AMERICA. (Attachments: # 1 Text of Proposed Order)(McNamar, Eric)




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                        (Entered: 11/13/2020)
  11/16/2020      100 ORDER - granting 99 Motion for Extension of Time to File Response to
                      11/24/2020 re 90 First MOTION for Reconsideration re 87 Closed
                      Judgment, 86 Order on Motion for Summary Judgment Order on Appeal of
                      Magistrate Judge Decision to District Court , 92 First MOTION to Set Aside
                      Judgment . IT IS THEREFORE ORDERED, ADJUDGED AND DECREED
                      that Defendant Travelers is granted a period of time through and including
                      November 24, 2020, in which to respond to Plaintiff's Motions. Signed by
                      Judge Tanya Walton Pratt on 11/16/2020.(NAD) (Entered: 11/16/2020)
  11/24/2020      101 RESPONSE in Opposition re 92 First MOTION to Set Aside Judgment ,
                      filed by Defendant THE TRAVELERS INDEMNITY COMPANY OF
                      AMERICA. (McNamar, Eric) (Entered: 11/24/2020)
  11/24/2020      102 RESPONSE in Opposition re 90 First MOTION for Reconsideration re 87
                      Closed Judgment, 86 Order on Motion for Summary JudgmentOrder on
                      Appeal of Magistrate Judge Decision to District Court , filed by Defendant
                      THE TRAVELERS INDEMNITY COMPANY OF AMERICA. (McNamar,
                      Eric) (Entered: 11/24/2020)
  12/01/2020      103 REPLY in Support of Motion re 90 First MOTION for Reconsideration re 87
                      Closed Judgment, 86 Order on Motion for Summary JudgmentOrder on
                      Appeal of Magistrate Judge Decision to District Court , filed by Plaintiff
                      LEGEND'S CREEK HOMEOWNERS ASSOCIATION, INC.. (Beyers,
                      William) (Entered: 12/01/2020)
  12/01/2020      104 REPLY in Support of Motion re 92 First MOTION to Set Aside Judgment ,
                      filed by Plaintiff LEGEND'S CREEK HOMEOWNERS ASSOCIATION,
                      INC.. (Beyers, William) (Entered: 12/01/2020)
  01/27/2021      105 ORDER - The Court's ruling on Defendant's Bill of Costs (Dkt. 88 ) and
                      Plaintiff's Motion for Disallowance (Dkt. 89 ) is stayed pending a ruling on
                      Plaintiff's appeal to the Seventh Circuit Court of Appeals. Signed by Judge
                      Tanya Walton Pratt on 1/27/2021.(NAD) (Entered: 01/27/2021)
  01/29/2021      106 MOTION to Withdraw Attorney Appearance of Matthew P. Fortin, filed by
                      Defendant THE TRAVELERS INDEMNITY COMPANY OF AMERICA.
                      (Attachments: # 1 Text of Proposed Order)(McNamar, Eric) (Entered:
                      01/29/2021)
  01/29/2021      107 ENTRY ON PLAINTIFF'S 90 MOTION TO AMEND OR ALTER
                      JUDGMENT - To be sure, the first page of the Court's summary judgment
                      entry reads that "the Court denies Travelers' Appeal of the Magistrate Judge's
                      Decision because that issue is moot," while page twenty and the docket entry
                      state that "Travelers' Appeal of the Magistrate Judge's Order, (Filing No.
                      83 ), is also GRANTED." (Filing No. 86 .) The first page of the summary
                      judgment entry contains a scrivener's error and, consistent with the rationale
                      expressed throughout the entry, should instead read that "the Court grants
                      Traveler's Appeal of the Magistrate Judge's Decision". That correction will
                      be made, but because the docket entry (and the entry's conclusion section)




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                        accurately reflects the disposition of that motion, the Court need not
                        reconsider its entry on this minor typographical error. For the preceding
                        reasons, the Court DENIES the Motion to Amend or Alter Judgment filed by
                        Legend's Creek (Filing No. 90 ). (See Order.) Signed by Judge Tanya
                        Walton Pratt on 1/29/2021. (NAD) **Emailed to USCA re #20-3163**
                        Modified on 2/1/2021 (LBT). (Entered: 01/29/2021)
  01/29/2021      108 AMENDED ENTRY ON DEFENDANT'S 71 MOTION FOR SUMMARY
                      JUDGMENT AND 83 APPEAL OF THE MAGISTRATE JUDGE'S
                      DECISION. The Court holds that Legend's Creek failed to comply with the
                      suit limitation provision of the Policy. Legend's Creek was represented by a
                      public adjuster, consulted with counsel during the claim process, had a copy
                      of the policy and was aware that it had two years from the date of loss to
                      commence legal action, yet never requested an extension of time to file suit
                      and failed to file suit within the time frame required in the contract.
                      Accordingly, it has no right to relief under that contract. Therefore,
                      Travelers' Motion for Summary Judgment, (Filing No. 71 ), is GRANTED as
                      to Legend's Creek's claims for breach of contract and bad faith. As that
                      ruling resolves this suit, there is no need to continue the process of appraisal.
                      Accordingly, Travelers' Appeal of the Magistrate Judge's Order, (Filing No.
                      83 ), is also GRANTED. The Court will issue final judgment in a separate
                      order. (See Order.) Signed by Judge Tanya Walton Pratt on 1/29/2021.
                      (NAD) **Emailed to USCA re #20-3163** Modified on 2/1/2021 (LBT).
                      (Entered: 01/29/2021)
  02/01/2021      109 ORDER ON 106 MOTION TO WITHDRAW AS COUNSEL - Travelers
                      Casualty Insurance Company of America ("Travelers"), having filed its
                      Motion to Withdraw as Counsel Matthew P. Fortin, formerly of Foran
                      Glennon Palandech Ponzi & Rudloff PC, as counsel of record for Travelers,
                      and the Court having considered the same, now GRANTS the Motion.
                      Signed by Judge Tanya Walton Pratt on 2/1/2021. (NAD) (Entered:
                      02/01/2021)
  02/12/2021      110 Amended NOTICE OF APPEAL as to 107 Order on Motion for
                      Reconsideration, 108 Entry, filed by Plaintiff LEGEND'S CREEK
                      HOMEOWNERS ASSOCIATION, INC.. (No fee paid with this filing)
                      (Miller, David) Modified on 2/16/2021 - edited docket to match caption of
                      document(NAD). (Entered: 02/12/2021)
  02/17/2021      111 PARTIES' SHORT RECORD re 110 Amended Notice of Appeal -
                      Instructions for Attorneys/Parties attached. (LBT) (Entered: 02/17/2021)

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